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              UNITED	STATES	DISTRICT	COURT	FOR	THE	
                    NORTHERN	DISTRICT	OF	ILLINOIS	
                                      	
                                      	
UNITED	STATES	OF	AMERICA,		
	
	    	    	      Plaintiff,		
	
v.		
	
COOK	COUNTY,	ILLINOIS;	 	           	   	           					 No.	10	C	2946	
THOMAS	DART,	COOK	COUNTY		 	            	                 	      	
SHERIFF	(in	his	official	capacity);		   													     Judge	Virginia	Kendall	
TONI	PRECKWINKLE,	COOK	COUNTY	
BOARD	PRESIDENT	(in	her	official	capacity);	
COOK	COUNTY	BOARD	OF		
COMMISSIONERS	(in	their	official	capacity),	
	
	    	    	      Defendants	
	
	
                               Report	No.	11	
               Corrections	Monitor	Susan	W.	McCampbell	
                               May	17,	2016	
	
	
	
	
	
	
	
	
Susan	W.	McCampbell,	President	
McCampbell	and	Associates,	Inc.	
1880	Crestview	Way	
Naples,	Florida	34119-3302	
(239)	597-5906	
Email:		susanmccampbell@mccampbellassoc.com



                           FINAL	05	17	16	Compliance	Report	#	11		
	
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                              Executive	Summary	
                                          Report	No.	11	
                Corrections	Monitor	Susan	W.	McCampbell	
                                                	
Summary		
	
Compliance	Report	#	11	reviews	compliance	of	the	seventy-seven	(77)	paragraphs	in	the	
Agreed	Order	related	to	inmate	protection	from	harm.		Cook	County	Department	of	
Corrections	(CCDOC)	was	in	substantial	compliance	with	all	provisions	of	the	Agreed	Order	
based	on	the	tour	in	March	2015,	as	reflected	in	Compliance	Report	No.	10.		This	document	
provides	an	update	of	compliance	for	five	of	those	sub-paragraphs.				
	
I	toured	CCDOC	from	March	7	–	9,	2016.	This	was	a	delayed	tour.		I	was	scheduled	to	tour	
December	7	–	9,	2015.		I	determined	just	prior	to	that	tour	that	CCDOC	had	not	provided	a	
sufficient	amount	of	requested	information;	therefore	making	the	tour	not	an	effective	use	
of	the	time	and	resources	of	the	parties.	The	information	that	CCDOC	had	not	provided	
timely	to	me	included	videos	of	incidents	and	responses	to	the	questions	I	asked	regarding	
the	weekly	summary	of	incident.		The	first	available	time	after	that	postponement	I	was	
available	was	the	March	timeframe,	noted	above.				
	
The	March	2016	tour	focused	on	the	documented	processes	and	the	outcomes	of	those	
processes	to	ensure	sustainable	compliance	with	provisions	of	the	Agreed	Order.		Single	
incidents	and	events	were	reviewed	and	assessed	to	inform	whether	the	processes	are	
effective	in	providing	early	identification	of	trends,	and	plans	of	action	for	any	identified	
deficiencies.			An	integral	part	of	sustainable	compliance	is	the	commitment	to	and	ability	
for	self-critical	analysis	of	jail	operations.			I	also	reviewed	CCDOC’s	compliance	with	their	
internal	policies	and	procedures	as	an	additional	measure	of	sustainability.		During	this	
tour	I	interviewed	staff	and	inmates,	reviewed	documents,	and	consulted	with	CCDOC	and	
Cermak	regarding	compliance	issues.				
	
CCDOC	has	continued	to	refine	their	work	related	to	compliance	with	the	Agreed	Order,	
however,	there	are	deficiencies	noted	in	Compliance	Report	Number	11.		I	consider	these	to	
be	lapses	of	importance	as	they	related	to	processes	and	outcomes;	but	am	confident	that	
CCDOC	will	work	diligently	to	restore	the	achievement	of	their	strategies	and	my	
confidence	in	CCDOC’s	work.		I	do	not	see	a	lessening	of	commitment	to	the	task	of	
maintaining	compliance,	and	rather	urge	focus	and	establishing	a	wider	view	of	
sustainability	of	reforms	for	the	organization,	not	for	the	compliance	monitoring.	
	




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Status	of	Compliance			
	
This	chart	summarizes	the	progress	made	by	CCDOC	since	my	first	report	of	September	20,	
2010.	
	
                  Sustained	
                 Compliance	
                 (more	than	    Substantial	     Partial	       Non-          Not	
     Report	#	   18	months)	    Compliance	    Compliance	   Compliance	   Applicable	   Total	
        1	            		             3	            62	           12	           8	         77	
        2	            		             1	            63	           5	            8	         77	
        3	            		             22	           55	           0	            4	         77	
        4	            		             39	           34	           0	            4	         77	
        5	            		             53	           20	           0	            4	         77	
        6	           21	             39	           17	           0	            0	         77	
        7	           35	             31	           11	           0	            0	         77	
        8	           50	             17	           10	           0	            0	         77	
        9		          68	             9	            0	            0	            0	         77	
        10	          69	             8	            0	            0	            0	         77	
        11	          72	             0	            5	            0	            0	         77	
	
Following	this	tour,	five	sub-paragraphs	were	returned	to	the	status	of	partial	compliance.			
The	other	paragraphs	remain	in	compliance.		The	sub-paragraphs	with	changed	
compliance	are:	
	
       • 31.e.	–	Review	of	reporting	(page	27)	
       • 31.f.	–	Review	of	incidents	(page	27)	
       • 34.d	–	Administrative	review	(page	38)	
       • 34.f.	–	Investigations	(page	39)	
       • 38.d.	–	Grievance	analysis	(page	44)	
	
I	want	to	be	clear	that	CCDOC	continues	to	perform	the	activities	required	in	these	
paragraphs.		The	shortfalls	in	compliance	for	the	purpose	of	monitoring	are	primarily	
regarding	needed	refinements	in	processes	and	updating	written	directives.		As	will	be	
discussed	throughout	this	report,	CCDOC’s	analysis	of	available	data,	and	use	of	that	to	
inform	operations	requires	focus,	implementation,	and	documentation.	
	
I	do	not	make	these	changes	in	status	in	a	vacuum.		The	parties	and	I	anticipated	the	
monitoring	of	the	Agreed	Order	would	end	in	mid-2016.		I	strongly	believe	that	the	changes	
in	compliance	status	are	essential	to	the	integrity	of	the	monitoring	process.			As	a	result	of	
this	modification,	and	per	the	agreement	of	the	parties,	the	monitoring	of	paragraphs	31,	
34,	and	38	will	continue	at	least	through	the	next	tour,	scheduled	for	the	week	of	October	
11,	2016.		After	that	tour,	the	parties	and	the	Monitor	will	assess	the	status	of	these	
provisions	as	to	the	need	for	further	monitoring.				The	monitoring	of	the	paragraphs	that	
have	remained	in	substantial	compliance	for	18	months	(32,	33,	35,	36,	37,	39,	40,	41,	and	

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69	will	cease	after	this	Compliance	Report.		There	is	one	additional	sub-paragraph	that	will	
be	re-evaluated	in	October	(32.f.	–	see	below).	
	
This	report	lists	specific	activities	and	actions	needed	to	maintain	compliance	with	a	
number	of	other	paragraphs.		In	addition	to	the	five	sub-paragraphs	listed	above,	I	am	most	
concerned	about	paragraphs	31.k,	the	Early	Warning	System,	and	32.f.	Weapons	
Free/contraband.		I	expect	to	see	plans	of	action	to	address	identified	deficiencies	in	these	
two	paragraphs	before	the	October	2016	tour.	
	
The	parties	have	entered	into	a	new	agreement	regarding	monitoring	of	this	Agreed	Order.		
This	revised	Agreement	will	be	filed	with	the	Court.	
	
Review	of	Drafts	
	
The	first	draft	of	this	compliance	report	was	provided	to	the	parties	on	April	1,	2016	
requesting	all	comments	by	April	18,	2016.		To	facilitate	the	process,	I	sent	the	draft	report	
noting	there	were	several	areas	for	which	I	had	yet	to	receive	the	data	and/or	information	I	
requested.			As	that	information	was	provided,	I	reassessed	compliance	with	several	
paragraphs	and	discussed	these	with	DOJ	and	the	defendants.		As	a	result	of	updating	the	
draft	report	an	conversations	among	the	parties,	a	second	draft	of	the	report	was	provided	
to	the	parties	to	assure	maximum	transparency	and	opportunity	to	correct	any	information	
or	data.	Although	this	was	unprecedented	in	this	history	of	this	monitoring,	I	believed	it	
furthered	the	goals	to	allow	for	this	extra	review	step.		The	second	draft	of	the	report	was	
provided	to	all	parties	on	April	23,	2016,	with	a	required	response	date	of	the	close	of	
business	on	April	29,	2016.			The	parties	did	not	provide	any	substantive	changes	to	the	
draft.	
	
Following	a	conference	with	The	Honorable	Virginia	Kendall	on	May	4,	2016	regarding	the	
findings	of	the	draft	report,	an	additional	draft	(third)	was	provided	to	the	defendants	for	
their	review	on	April	30,	2016,	with	a	request	for	review	and	comment	by	May	9,	2016.		
Additional	conversations	were	held,	and	a	fourth	draft	was	prepared	and	provided	to	the	
parties	for	review	on	May	14,	2016.		The	final	of	Compliance	Report	#	11	was	completed	on	
May	17,	2016.	
	
The	Data	
	
On	March	7,	2016,	there	were	8,142	inmates	in	custody	(on	the	campus)	and	2,379	inmates	
in	community	corrections	(total	of	10,521).			
	
The	data	provided	by	CCDOC	indicates	that	while	the	in-custody	population	is	decreasing	
(down	11%	from	CY	2014	to	CY	2015),	the	number	of	reported	inmate	altercations	are	
increasing	(23%);	reported	batteries	to	staff	up	24%;	and	reported	uses	of	force	up	66%	
during	the	two	year	time	period.		Other	process	data	such	as	inmate	disciplinary	reports	
are	also	up	19%;	and	what	appears	to	be	a	drop	in	inmate	grievances	in	some	divisions.			
The	increases	in	uses	of	force	and	inmate/inmate	altercations	may	be	attributable	to	a	
number	of	factors	including	the	dangerousness	and	propensity	for	violence	of	the	inmates	

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who	remain	in	custody	after	the	County’s	courts’	initiatives	to	reduce	population;	and/or	
that	inmates	with	mental	illness	are	increasingly	being	caught	up	in	the	criminal	justice	
system	with	more	serious	charges;	and/or	that	the	number	of	cameras	inside	the	facilities	
are	identifying	more	incidents	than	before	that	might	have	escaped	staff	notice	(for	
example	inmate/inmate	fights	in	indirect	supervision	housing	units).1			
	
Regardless	of	the	possible	causes	of	these	trends,	CCDOC,	partnering	with	Cermak,	must	
drill	down	into	the	data	and	develop	objective,	measurable	strategies	to	address	these	
changes.				This	is	the	self-critical	work	that	is	referenced	above.			
	
Sustainability	
	
As	the	monitoring	of	the	Agreed	Order	reaches	an	important	threshold	of	assuring	
sustainability	of	maintaining	policies	and	practices	that	ensure	Constitutional	standards	for	
jail	operations,	I	focused	on	how	the	defendants	developed	and	implemented	self-
assessment	and	internal	auditing	processes.			
	
In	spite	of	the	past	progress	achieved	by	the	defendants,	I	identify	the	following	areas	of	
concern	regarding	sustainability	of	the	compliance	with	the	Agreed	Order:	
	
1.      Critical	Incident	Review	and	Plans	of	Action2	–	The	defendants	must	have	timely	and	
        robust	processes	to	identify	emerging	trends,	data,	incidents,	etc.,	and	respond	with	
        data	driven	and	effective	solutions	(plans	of	action).		CCDOC	performs	a	cursory	
        review	of	critical	incidents.		I	find	that	these	reviews	are	insufficient	at	the	five-year	
        mark.		Examples	of	the	need	for	more	in-depth	critical	internal	reviews	include,	but	
        are	not	limited	to:	examination	of	uses	of	force	involving	inmates	on	the	mental	
        health	caseload,	emerging	and	on-going	incidents	attributed	to	the	“Savage	Life”	jail	
        “gang”,	analyses	of	use	of	force	data,	coordination	of	use	of	force	assessment	
        strategies	between	the	Inspector	General	(IG),	Use	of	Force	Review	Unit	(UFRU),	and	
        the	Office	of	Professional	Review	(OPR),	staffing	of	the	use	of	force	review	unit,	and	
        analysis	and	action	regarding	the	operational	changes	that	may	be	necessary	
        gleaned	from	inmate	grievances.	
2.      Quality	Improvement/Quality	Assessment	–	There	is	no	written	directive	regarding	
        how	the	CCDOC	plans	to	maintain	sustainability	of	progress	made	in	the	course	of	
        this	litigation.			The	Sheriff’s	Offices	recognizes	many	of	these	sustainability	and	
        process	issues	described	in	this	report,	and	has	contracted	with	a	criminal	justice	
        professional	to	manage	the	on-going	relevant	initiatives	--	to	keep	the	jail	system	on	
        track,	through	data	collection	and	analysis,	accountability,	and	application	of	
        emerging	trends	in	jail	administration.		This	is	a	potentially	effective	strategy	but	
        will	require,	again,	rethinking	how	the	jail	envisions	the	way	forward,	using	the	data	
        available	to	identify	trends,	develop	solutions,	evaluate	responses,	and	refine	
																																																								
1	CCDOC	notes	that	that	some	of	the	increase	might	be	attributable	to	CCODC’s	refinements	in	data	capturing	
and	collection,	which,	along	with	the	development	of	data	dashboards	derived	from	the	information	system,	
has	been	part	of	CCDOC’s	efforts	to	develop	a	state	of	the	art	data	collection	and	analysis	system.				
2	Agreed	Order	Paragraphs	31.f.,	31.h.,	31.n.,	34.d.,	34.f.	


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              initiatives.		This	work	of	the	defendants	is	to	inform	their	decision-making,	not	at	all	
              solely	for	the	use	of	the	monitor.		
3.            Use	of	Force	Reviews	–	CCDOC	was	the	first	large	jail	system	in	the	United	States	to	
              implement	a	process	aimed	at	analyzing	the	uses	of	force	outside	of	a	purely	
              investigative	function.		Not	required	by	the	Agreed	Order,	the	Sheriff’s	emphasis	on	
              identifying,	analyzing,	and	remediating	uses	of	force	has	been	a	model	for	other	
              correctional	systems.		As	the	utility	of	this	approach	has	been	confirmed,	the	
              function	has	grown	from	the	work	of	one	individual	to	a	unit	of	19,	organizationally	
              placed	under	the	Inspector	General.		This	Unit	has	faced	staffing	issues	over	the	last	
              year,	which	has	impacted	the	workflow	of	case	review	and	referral.		The	systems	
              and	written	directives	are	developed.		Perhaps	a	victim	of	its	own	success,	more	
              attention	needs	to	be	paid	to	assuring	that	the	resources	–	human,	support,	and	data,	
              are	adequate	to	assure	compliance	with	the	Agreed	Order,	and	the	goals	of	the	
              organization	beyond	the	litigation.	
4.            Leadership	Changes/Continuity	–	Since	the	initiation	of	the	monitoring	to	comply	
              with	the	Agreed	Order,	CCDOC	has	had	five	executive	directors,	and	Cermak	has	had	
              several	interim	and	permanent	leadership	changes.		While	I	am	certainly	not	critical	
              of	those	who	retire,	there	has	not	be	sufficient	consistency	of	operations	during	
              these	transitions,	and	other	related	organizational	changes	(e.g.	change	in	the	
              organizational	structure).		Continuity	is	critical	as	is	leadership	development	and	
              succession	planning	to	achieve	sustainability.				
5.            Staffing	for	Classification	–	The	revised	classification	system,	implemented	in	2014,	
              needs	to	be	fully	staffed	to	assign	all	inmate	housing	decisions	(absent	exigent	
              circumstances).			This	situation	may	be	an	example	of	how	the	long-term	view	of	
              what	is	needed	gets	lost	in	the	organizational	changes	that	are	made.3	
6.            Continue	Examining	Uses	of	Force	–	To	prepare	for	the	December	tour,	I	asked	to	
              review	videos	of	uses	of	force	and	inmate/inmate	altercations,	a	representative	
              sample	from	the	weekly	reports	I	review	provided	to	me	by	CCODC.		I	acknowledge	
              that	as	a	observer	not	present	during	an	incident	I	may,	most	likely,	always	have	
              additional	questions	about	the	incidents;	which	I	did.		The	concern	for	me	is	that	it	
              took	CCDOC	too	long	to	respond	to	my	concerns	(more	than	six	weeks	in	several	
              cases),	and	I	remain	pending	receipt	of	information	as	this	report	is	prepared.		The	
              questions	I	asked,	and	the	information	I	requested	is	data	that	must	be	readily	
              available	to	CCDOC	for	internal	leadership	and	management	use.		I	want	to	be	clear	
              that	I	am	not	suggesting	that	there	are	unreported	and/or	uninvestigated	uses	of	
              force,	or	inmate/inmate	altercations;	but	what	I	am	urging	is	more	attention	to	
              timely	processes.	
7.            Inmate	Management	–	Since	before	the	opening	of	the	RTU/Division	8,	I	have	been	
              recommending	preparing	staff	(line	staff	and	first	line	supervisors)	to	manage	
              inmates	in	a	direct	supervision	housing	environment.		Skills	to	work	in	direct	
              supervision	are	different	than	managing	inmates	who	are	housed	“behind	bars”.		
              The	deficiencies,	in	my	opinion,	of	the	physical	design	of	the	RTU	also	present	issues	
              for	inmate	management.		CCDOC	needs	to	aggressively	engage	in	supplemental	
																																																								
3	CCDOC	reports	that	the	Unit	will	have	full	staffing	in	May	2016.		I	will	rely	also	on	the	professional	engaged	
to	validate	the	classification	to	also	assess	staffing	of	the	Unit.	

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         training	of	staff	to	better	manage	RTU’s	units.		The	RTU	houses	inmates	with	mental	
         illness	and	the	staff	are	challenged	with	managing	direct	supervision	with	this	
         population.			
8.       Planned	Inmate	Disorder	-	In	the	last	year,	there	have	been	significant	challenges	to	
         CCDOC	to	manage	a	small	group	of	inmates,		who	have	self-named	themselves	
         “Savage	Life”,	who	are	intent	on	disrupting	some	housing	units	in	the	jail	system,	
         resulting	in	harm	to	themselves,	other	inmates,	and	staff.		CCDOC	is	commended	for	
         analyzing	the	incidents	with	an	eye	toward	determining	root	cause	analysis.		This	is	
         a	model	that	needs	to	be	applied	to	other	issues	that	will	continue	to	emerge.	
9.       Collaboration	–	A	theme	of	past	monitoring	reports	is	the	continuing	need	to	
         improve	collaboration	between	CCDOC	and	Cermak.			The	leadership	of	CCDOC	and	
         Cermak	each	espouse	collaboration,	emphasis	needs	to	continue	to	be	placed	on	
         refining	this	relationship.	
10.      Validation	of	the	Classification	System	-	Completing	a	validation	study	of	the	
         classification	system	with	the	outside	expert	is	a	requirement	of	the	Agreed	Order.		
         This	is	planned	for	the	next	six	months,	and	should	be	done	in	such	a	way	to	provide	
         the	capacity	for	CCDOC	to	replicate	the	validation	in	the	future.	
11.      New	Jail	Beds	-	A	challenge	for	the	defendants	is	planning	for	new	jail	beds.		There	is	
         a	need	for	a	cogent	plan	to	replace	beds	in	the	system.		As	with	many	other	jail	
         systems,	the	jail	population	is	down,	allowing	the	closure	of	Divisions	1,	3,	and	17.		
         The	trend	to	fewer	jail	inmates,	while	most	welcome,	is	not	widely	understood.		This	
         means	that	jail	systems	need	to	be	prepared	for	responding	to	potential	population	
         increases.		There	is	planning	to	initiate	new	construction.		New	jails	beds	also	
         provide	the	opportunity	for	improvements	in	inmate	safety	based	on	architectural	
         design	and	more	cost	effective	operations	in	terms	of	staffing.		
	
Next	Steps	
	
As	noted	above,	five	paragraphs	are	moved	from	substantial	compliance	to	partial	
compliance.		In	addition	to	working	to	gain	substantial	compliance	with	the	relevant	
paragraphs,	this	unanticipated	interim	period	provides	CCDOC	with	an	opportunity	to	
engage	in	a	thoughtful	review	of	operations.		There	have	been	so	many	positive,	
outstanding	changes,	and	others	which	seemed	perhaps	good	on	paper,	but	not	in	
operational	practice.				
	
Given,	however,	the	issues	that	prompted	the	postponement	in	the	December	2015	tour	
and	the	current	pending	status	of	requests,	I	now	postpone	this	next	scheduled	tour	until	
the	week	of	October	11th.		Prior	to	that	tour,	the	following	will	be	required	of	the	
defendants:	
	
    1.    Address	compliance	status	of	the	five	paragraphs	now	in	partial	compliance,	and	
          the	several	others	that	need	attention.	
    2.    Quality	Improvement/Quality	Assessment	directives	need	to	be	development	
          and	implemented.		This	is	not	a	specific	requirement	of	the	Agreed	Order	but	is	
          directly	related	to	my	assessment	of	the	life-span	of	changes	made.		The	
          improvements	of	the	jail’s	management	information	system	(CCOMS)	make	it,	in	

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            my	view,	one	of	the	best	in	the	country	and	present	the	enviable	dilemma	of	how	
            to	use	the	data	that	can	be	mined	from	it.			The	challenge	is	to	determine	what	is	
            the	most	relevant	data,	how	to	use	the	data	in	internal	assessment	processes.	
     3.     CCDOC	must	refine	the	internal	organizational	issues	to	streamline	responses	to	
            critical	incidents,	analyze	information,	and	prepare,	implement	and	evaluate	
            plans	of	actions	to	address	shortcomings	and	deficiencies.		This	must	take	the	
            form	of:		
            a. An	updated	written	directive;	
            b. Training	for	management	and	leadership	staff	to	conduct	reviews;	
            c. Development	of	plans	of	action	for	any	identified	deficiencies;	and	
            d. Oversight	of	the	implementation	of	plans	of	action,	documentation	of	
                outcomes,	and	mid-course	corrections	if	the	initial	plan	does	not	solve	the	
                deficiency(ies).	
     4.     CCDOC	needs	to	assure	that	the	Use	of	Force	Review	Unit	is	staffed	to	provide	
            timely	review	of	incidents.		The	Unit	is	preparing	to	draft	written	operating	
            procedures	to	guide	the	work,	as	well	as	developing	an	available	data	“dash	
            board”	to	immediately	spotlight	critical	data.		As	this	work	is	important	to	
            sustaining	compliance	with	the	Agreed	Order,	priority	needs	to	be	placed	on	
            these	activities	and	resources	to	improve	operations	of	the	UFRU.	
     5.     The	parties	must	continue	to	focus	on	the	use	of	force	involving	inmates	on	the	
            mental	health	caseload,	with	the	goal	of	improving	prevention	and	response	
            collaboratively	with	CCDOC	and	Cermak.		This	may	be	done	by	improving	
            collaboration	between	the	parties,	evaluation	of	effectiveness	of	mental	health	
            staffing,	increasing	reliance	on	Cermak’s	mental	health	staff	for	programming	for	
            inmates	in	the	jail	system	(rather	than	use	of	CCDOC’s	resources),	and	joint	
            assessment	of	incidents.	
     6.     Up-to-date	responses	to	questions	raised	by	me	about	the	weekly	incident	
            reports.	
     7.     Up-to-date	responses	regarding	questions	from	viewing	a	sample	of	
            inmate/inmate	altercations	and	uses	of	force.	
     8.     Current	analysis	of	inmate	grievance	data,	including	development	and	
            implementation	of	plans	of	action	indicated	by	the	data.	
     9.     Current	analysis	of	inmate	disciplinary	data,	including	development	and	
            implementation	of	plans	of	action	indicated	by	the	data.	
     10.    Current	analysis	of	inmate	use	of	force	data,	including	development	and	
            implementation	of	plans	of	action	indicated	by	the	data	
     11.    Assurance	of	full	staffing	to	conduct	the	required	work	of	the	Classification	Unit.	
     12.    Assurance	of	full	staffing	for	the	use	of	force	review	unit	and	the	related	
            functions	of	the	Office	of	Professional	Responsibilities.	
     13.    Completion	of	the	validation	of	the	inmate	classification	system.	
     14.    Current	analysis	of	inmate	incident	data	(e.g.	Savage	Life),	including	
            development	and	implementation	of	plans	of	action	indicated	by	the	data.	
     15.    Current	analysis	of	contraband	findings,	including	development	and	
            implementation	of	plans	of	action	indicated	by	the	data.	



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     16.     CCDOC	must	develop,	fund,	and	implement	enhanced	supplemental	training	for	
             officers	assigned	to	work	on	direct	supervision	tiers	in	RTU/Division	8.	This	
             training:		
             a. Must	be	consistent	with	the	principles	of	direct	supervision;		
             b. Blended	with	CIT/mental	health	strategies;	
             c. Must	be	“hand-on”,	with	practical	exercises	and	demonstrated	competencies;		
             d. Provisions	of	staff	assignment	to	permit	only	staff	who	have	completed	both	
                 CIT/mental	health	and	direct	supervision	training;	and	
             e. Maintenance	and	analysis	of	data	regarding	the	outcomes	of	the	enhanced	
                 supplemental	training.	
     17.     Assessment,	and	as	necessary,	amendment	of	the	policy	related	to	the	conduct	of	
             criminal	incident	reviews,	and	provision	of	sample	reports.4		Assurance	that	the	
             CCDOC	and	CCSO	policies	reflect	this	new	statute.	
     18.     While	not	required	by	the	Agreed	Order,	CCDOC	should	consider	the	
             development	and	implementation	of	a	funded,	staffed	leadership	development	
             initiative.		This	is	not	just	“training”	but	a	process	that	prepares	emerging	
             leaders	and	provides	continuity	of	leadership.	
	
As	always,	if	needed,	I	am	available	for	technical	assistance.		The	CCDOC	has	contacts	with	
other	large	jails	and	can	also	explore	options	from	those	agencies	as	CCDOC	moves	forward.	
	
Conclusions	
	
After	all	the	hard	work,	resources	and	commitment	to	achieving	compliance	with	a	very	
comprehensive	Agreed	Order,	the	defendants	need	to	focus	on	refining	the	systems	that	
achieved	compliance,	and	assuring	sustainability.			This	current	small	set-back	in	
compliance	should	allow	CCDOC	a	re-thinking	of	the	path	toward	again	achieving	
compliance	and	importantly	the	sustainability	of	processes.		As	I	have	noted	previously,	
there	are	ebbs	and	flows	in	reform	of	this	magnitude.		The	next	steps	will	be	critical	to	
completing	this	important	work	as	well	as	assuring	a	Constitutional	jail,	safe	for	staff	and	
inmates,	into	the	foreseeable	future.	
	




																																																								
4	I	learned	on	March	28,	2016	of	a	change	in	Illinois	statute	regarding	having	the	Illinois	State	Police	
investigate	in-custody	deaths.		I	recommend	that	CCDOC	and	ISP	develop	a	written	memorandum	of	
agreement/understanding	guiding	these	investigations.		Particular	attention	should	be	to	assure	that	the	
review	of	any	in-custody	death	from	the	perspective	of	the	ISP	(criminal)	does	not	diminish	the	need	to	
examine	the	security	and/or	medical	perspectives	to	the	incident.	

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31.	Use	of	Force	–	Change	in	Compliance	For	Sub-Paragraphs	31.e.	and	31.f.	
	
March	2016	-	There	are	twenty	(20)	paragraphs	in	the	Agreed	Order	regarding	use	of	
force.		With	this	report	I	am	changing	to	partial	compliance	for	sub-paragraph	31.	e.	and	
31.f.	(see	below)		The	remaining	18	paragraphs	remain	in	substantial	compliance.	
	
To	assess	CCDOC’s	on-going	compliance	for	these	requirements	I:	
	
        • Viewed	more	than	100	videos	of	incidents	(intended	as	a	sample)	involving	
            either	use	of	force	and/or	inmate/inmate	altercations	for	the	period	3/15/15	to	
            1/3/16;	and	viewed	videos	for	the	period	through	mid-March	2016.	
        • Continued	to	review	all	weekly	incident	reports	and	requested	information	on	
            average	10	incidents	per	week	(along	with	requesting	videos	as	noted	above;	
        • Assessed	the	Use	of	Force	Review	Units’	statistics,	analysis	of	uses	of	force,	
            recommendations	and	actions;	
        • Examined	staffing	for	the	OPR	and	Use	of	Force	Review	Unit;	
        • Reviewed	summary	of	incidents	for	CY	2015;	
        • Reviewed	a	list	of	training	provided	to	OPR	staff	from	September	2014	to	
            present;		
        • Reviewed	a	list	of	filed	litigation	regarding	allegations	of	excessive	use	of	force	
            and	officer	misconduct	for	2014	and	2015;	and	
        • Reviewed	the	process	for	leadership	and	management	review	of	trends	and	
            remedies	regarding	uses	of	force.	
	
A	change	to	partial	compliance	is	made	in	this	report	regarding	paragraph	31.e.,	“CCDOC	
shall	continue	to	require	prompt	review	by	the	shift	commander	of	all	use	of	force	reports.		
The	shift	commander’s	review	of	use	of	force	reports	shall	include	review	for	completeness	
and	procedural	errors,	as	well	as	review	of	the	substantive	content.		If	the	use	of	force	
report	does	not	comply	with	provision	31.d.	of	this	Agreed	Order,	the	shift	commander	
shall	return	it	to	the	reporting	officer	for	revision	and	resubmission	until	it	is	compliant.		If	
the	shift	commander	believes	a	use	of	force	may	have	been	inappropriate	or	excessive,	he	
or	she	shall	immediately	refer	the	incident	for	investigation;”	and	31.f.	“CCDOC	shall	ensure	
that	senior	management	review	of	uses	of	force	includes:		
        1.      A	timely	review	of	medical	documentation	of	inmate	injuries,	if	any	is	
                submitted,	as	provided	by	Qualified	Medical	Staff,	including	documentation	
                surrounding	the	initial	medical	encounter,	an	anatomical	drawing	that	
                depicts	the	areas	of	sustained	injury,	and	information	regarding	any	further	
                medical	care;				
        2.      The	inmate	disciplinary	report,	if	any,	associated	with	the	use	of	force;	and	
        3.      The	incident	report,	if	any,	associated	with	the	use	of	force.”	
	
The	basis	for	these	change	is	my	concern	that	reviews	by	shift	commanders	and	by	others	
who	need	to	be	involved	in	the	process,	are	not	bringing	prompt	action.		Also,	in	comparing	
incident	reports	to	the	actual	incidents,	I	found	in	some	of	the	narratives	I	reviewed	that	
the	incident	report	was	not	sufficiently	thorough.		One	of	the	unintended	consequences	of	

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establishing	the	UFRU	may	be	that	the	shift	commanders	knows	there	will	be	another	layer	
of	review,	and	hence	their	reviews	are	not	as	in-depth	as	needed.		The	specific	incidents	
and	processes	that	prompt	me	to	change	the	status	of	compliance	with	these	two	
paragraphs	are:	
	
        • An	incident	where	there	is	possible	staff	misconduct	in	a	use	of	force	that	was	
            not	re-classified	until	after	I	asked	for	a	review	of	the	video,	including	the	inmate	
            interviews	(along	with	several	of	videos	I	viewed).	
        • A	use	of	force	incident	occurring	in	Cermak	in	which	the	officer	was	not	removed	
            from	inmate	contact	until	four	months	after	the	incident.	
        • The	lack	of	timeliness	in	completion	of	reviews	by	UFRU;	although	this	may	be	
            improving	with	the	CCDOC’s	assurance	that	additional	staffing	has	been	
            provided	to	the	unit.	
        • The	lack	of	documentation	regarding	when	the	recommended	remedial	training	
            following	the	UFRU’s	findings	took	place.	
        • Employee	lack	of	attention	to	their	responsibilities	that	resulted	in	an	
            inmate/inmate	altercation	for	which	no	initial	review	recommended	counseling,	
            re-training,	or	any	other	remedial	action;	and/or	not	following	security	
            procedures	or	the	use	of	de-escalation	techniques;	and/or	interview	techniques.	
        • Incidents	where	gang	violence	is	identified,	without	recommendation	for	further	
            action.	
        • Insufficient	details	in	incident	reports.	
        • Insufficient	critical	incident	reviews.	
        • Capturing	of	trends.	
	
Additionally,	I	find	that	the	time	frame	for	the	initial	review	by	the	UFRU	until	a	decision	is	
made	about	nature	of	the	incident	(e.g.	possible	excessive	use	of	force	and/or	staff	
misconduct)	is	too	long.		The	process	must	be	amended	to	provide	an	initial	review	of	the	
incident	so	if	action	is	needed	regarding	a	staff	person’s	conduct,	for	example,	changing	
their	assignment,	it	can	be	taken	immediately.	
	
Although	it	was	intended	that	I	have	real	time	access	to	the	incident	reporting	system	
(CCOMS)	after	the	April	2015	tour,	various	issues	regarding	remote	access	meant	that	I	
didn’t	have	access	until	December	2015;	and	then	after	that,	intermittently	until	just	before	
the	March	’16	tour.		When	I	have	access,	which	I	now	do,	I	can	see	all	inmate	records,	
dashboards	that	summarize	critical	data,	and	the	incident	reports.		The	video	that	
accompanies	incidents	is	not	imbedded	in	the	reports	and	is	provided	separately,	upon	my	
request,	by	CCDOC	delivered	to	the	laptop.	
	
Data	maintained	by	the	Use	of	Force	Review	Unit	indicates	a	concerning	increasing	
reported	uses	of	force	in	CY	2016	compared	to	CY	2015.			Although	there	is	some	attempt	to	
identify	possible	causes,	more	work	needs	to	be	done	by	CCDOC,	partnering	with	Cermak,	
to	identify	causes,	not	symptoms,	of	the	increase,	and	develop	plans	of	action	to	resolve	
issues.	As	noted	in	the	Executive	Summary	of	this	Compliance	Report,	CCDOC	has	access	to	
much	data	and	the	challenge	is	to	identify	what	is	the	most	important	data,	and	then	track,	

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analyze	and	use	the	information	to	fix	problems.		The	issues	facing	all	jails	are	not	static,	
and	the	application	of	data	and	use	of	accountability	based	management	needs	to	evolve	as	
well.	
	
CCDOC	is	working	to	develop	systems	to	assure	on-going	operation	based	on	Constitutional	
conditions	of	confinement,	case	law,	and	accepted	correctional	practices.		To	do	this	(See	
Also	Executive	Summary),	they	have	identified	these	reporting	and	monitoring	systems:	
	
             • Daily	Intelligence	Bulletin	
             • Daily	Overview	
             • Fence	Line	Review	
             • Critical	Incident	reports	(34.	d.)	
             • High	Risk/Extremist	Inmates	
             • Gang	Free	Housing	Units	
             • “ADO”	Blast		(to	specifically	provide	notifications	throughout	the	
                organization	on	a	daily	basis,	since	the	tour,	before	that	it	was	the	process	for	
                notification	on	weekends)	
             • Security	Review	Team	(34.	d.)	
             • Security	Enhancement	Tiers	(see	32.)	
             • Security	Monitoring	and	Security	Checks			
             • Investigator’s	Weekly	Report			
             • Weekly	CIID	(Correctional	Information	and	Investigations	Division)	Report			
             • Superintendent’s	Body	Camera	Follow-Up			
             • Officer	Test	System	Checks	(Tunnels)				
             • Minutes	of	CIID	Weekly	Meetings			
             • Drug	Investigations	on	Visitors			
             • Lockdown	Report			
             • Weekly	Summary	Reports	(by	division)	
             • Weapons	Free	Assessment	and	Reporting	(Contraband)	
	
As	of	this	tour,	the	majority	of	these	initiatives/strategies	had	not	been	included	in	a	
written	directive.		This	raises	concerns	about	continuity	and	sustainability	of	the	work.	
While	not	meant	to	limit	the	flexibility	of	the	CCDOC’s	leadership	in	terms	of	lessons	
learned	and	evolving	ideas,	committing	the	processes	to	writing	ensures	consistency,	as	
well	as	is	a	way	to	alleviate	redundant	reports	or	processes.		It	also	names	the	
individuals/posts/positions	accountable	for	the	work.			
	
As	noted	in	Paragraph	32.,	below,	CCDOC	now	has	deployed	more	than	3,000	cameras	with	
a	Video	Monitoring	Unit	with	almost	20	staff	assigned.		This	certainly	helps	the	agency	to	
identify	incidents	that	are	not	reported	or	seen	by	staff,	particularly	uses	of	force.			
	
The	challenges	to	the	effectiveness	of	these	systems	designed	to	be	checks	and	balances	on	
uses	of	force,	inmate/inmate	violence,	and	staff	misconduct	is	a	single	entity	to	oversee	it	
all.		I	have	addressed	this	in	previous	compliance	reports.		The	responsibilities	to	identify,	
manage,	investigate,	report,	and	act	on	these	critical	incidents	(and	findings)	are	spread	

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from	the	first	line	supervisor,	the	facility	superintendent,	the	Inspector	General	(including	
Office	of	Professional	Review	(OPR)	and	the	Use	of	Force	Review	Unit	(UFRU),	Employee	
Discipline	Unit,	and	the	Video	Monitoring	Unit),	Cermak,	CIID,	Training,	Inter-Agency	
Coordinating	Committee,	Mental	Health	Interagency	Quality	Improvement	Committee,	
Suicide	Prevention	Committee,	Merit	Review	Board,	CCDOC	leadership	–	as	examples.		
While	each	entity,	in	my	view,	is	genuinely	working	hard	to	achieve	the	goal	of	reporting	
and	accountability,	the	moving	parts	are	too	many.			Organizationally,	some	of	these	units	
work	for	CCDOC,	some	are	independent.		There	almost	does	not	seem	to	be	enough	hours	
in	the	day	for	the	collaboration	and	data	sharing	needed	to	make	this	work.		The	enhanced	
CCOMS	and	dashboards	created	to	integrate	critical	information	are	very	impressive	and	
very	important.			
	
A	second	concern	is	linking	the	data	that	is	now	collected	to	problem-solving,	including	
development,	implementation,	and	evaluation	of	any	needed	plans	of	action.		For	example,	
the	Weapons	Free	committee	continues	to	collect	data	about	what	contraband	is	found	and	
where	throughout	the	facilities,	but	how	the	appropriate	decision-makers	use	that	data	–	
whether	they	are	in	Cermak	or	DFM	continues	to	need	to	be	refined.			
	
Emphasis	is	continually	needed	in	reviewing	the	uses	of	force	involving	inmates	on	the	
mental	health	caseload.		In	the	summer	of	2015,	I	identified	incidents	in	which	inmates	
housed	in	Cermak	were	involved	in	uses	of	force,	sometimes	related	to	attempts	to	
administer	medications.		This	matter	was	surfaced	by	me,	and	after	four	months,	addressed	
by	the	parties.		All	agreed	it	was	a	critical	issue,	but	it	took	too	long	for	a	coordinated	
analysis	and	response.		There	was,	in	my	view	and	experience,	an	opportunity,	for	example,	
to	examine	the	data	maintained	by	the	Use	of	Force	Review	Unit	(UFRU)	with	Cermak’s	
mental	health	professionals,	to	look	for	root	causes	and	potential	solutions	–	including	
longer-term	strategies.		There	is	ample	data,	but	inadequate	analysis	and	development	of	
actions	plans.	
	
My	review	of	the	fifty-seven	videos	allowed	me	to	see	how	staff	responded	to	
inmate/inmate	altercations,	as	well	as	spontaneous	events	that	result	in	uses	of	force.		
Among	the	issues	discussed	with	CCDOC	following	these	reviews	were:		timeliness	of	
referrals	of	incidents	to	the	UFRU	and/or	OPR,	timeliness	of	referrals	of	staff	for	
supplemental	training;	timeliness	of	completion	of	reviews	by	the	UFRU;		the	need	for	after	
after-action/critical	incident	reviews/recommendations/actions;		attention	by	supervisors	
to	staff	behavior	that	could	have	avoided/contributed	to	uses	of	force;		consistency	of	
incident	reports	to	the	videos;		application	of	accepted	practice	in	operations	(e.g.	
handcuffing,	supervision	of	inmates	during	moves)	representing	training	and	re-training	
opportunities;	and	the	leadership	oversight	and	review	of	the	various	processes.		Generally,	
I	found	the	operations	within	parameters	of	acceptable	practice,	but	there	were,	in	my	view	
some	outliers	that	caused	me	concern.			
	
The	CCDOC	has	continued	to	refine	their	accountability	based	management	system	with	
weekly	Jail	Management	meetings	(General	Order	24.1.30.0,	issuance	date	9/23/15).		
These	meetings	replace	the	meetings	held	with	all	division	heads	and	the	Sheriff.		These	


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meetings	require	review	of	the	Weekly	Summary	Reports5	submitted	by	the	division	head	
(facility	superintendent).	(31.f.,	m.,	n.,	o.,	34.e.,f.)		
	                                                          	
    Monitor’s	Recommendations:	
	
    31-1 Refine	the	process,	timelines,	and	if	needed	additional	resources	to	make	the	
            initial	reviews	contemporaneous	with	the	event.		If	necessary,	redefine	the	role	
            of	the	first	line	supervisor	or	shift	commander	in	the	review	process.	(paragraph	
            31.a.)	
    31-2 Specifically	regarding	paragraph	31.a.,	update	relevant	policies	and	procedures	
            with	attention	to	the	processes,	and	provide	to	me	no	later	than	August	15,	2016.	
    31-3 Continue	to	evaluate	the	use	of	supplemental	training	and	its	impact	on	the	work	
            related	behavior	of	employees	identified	via	the	early	warning	system.6	
    31-4 Continue	to	refine	the	data	that	evolves	from	the	Use	of	Force	Review	Unit	to	
            inform	all	related	aspects	of	correctional	operations	and	Cermak’s	operations	
            including,	but	not	limited	to	employee	training,	supervision,	and	on-going	
            inmate	training/orientation.		
    31-5 Assure	appropriate	staffing	for	the	UFRU,	using	other	than	persons	temporarily	
            detailed,	to	keep	levels	where	there	can	be	expeditious	review	of	incidents	and	
            allegations.	
    31-6 Develop	plans	of	action	identified	through	trend	analysis,	as	indicated	by	
            negative,	or	potential	negative	outcomes.		
    31-7 Continue	to	monitor	uses	of	force	involving	inmates	on	the	mental	health	
            caseload,	and	develop,	as	needed,	collaborative	approaches	to	managing	this	
            inmate	population	and	provision	of	the	required	staffing	of	Cermak’s	mental	
            health	professionals.	
    31-8 Track	employees	referred	for	training	and/or	other	remedial	actions,	the	dates	
            the	training	was	held,	the	content	of	the	training	and	the	outcomes	(e.g.	did	the	
            employee’s	behavior	change?).		Assess	the	timeliness	of	the	intervention	–	that	is	
            –	the	closer	the	training	to	the	event,	the	more	impactful	the	training.	
    31-9 Develop	and	implement	a	policy	directive	incorporating	systems	to	assure	on-
            going	compliance	with	CCDOC’s	directives,	early	warning	systems,	trend	analysis,	
            plans	of	action,	and	examination	of	emerging	issues.	
    31-10 Determine	how	the	use	of	force	review	unit	and	OPR	will	coordinate	data	
            collection	and	analysis	regarding	uses	of	force,	early-warning	systems,	and	
            employee	remedial	training	(see	previous	compliance	reports).	
    31-11 Continue	to	update	training	to	assure	that	employees’	reporting	of	uses	of	force	
																																																								
5	These	reports	include:		all	use	of	force	incidents,	all	serious	incidents,	unusual	occurrences,	sexual	assaults,	
fights,	suicides,	mental	health	incidents,	contraband	recovered,	major	rule	violations	by	inmates,	serious	
inmate	injuries,	cell	extractions,	medical	emergencies,	vandalism,	escapes	and	escape	attempts,	fires,	
emergency	grievances	and	steps	taken	to	address	these.	Additional	data	reviewed	include	the	total	number	of	
unauthorized	absence	hours;	list	of	all	discipline	initiatives	against	all	sown	and	non-sworn	employees,	
including	the	nature	of	the	violations;	discipline	outcomes,	overtime,	and	trends.
6
  Data	was	requested	but	not	provided	for	the	outcomes	of	the	Early	Warning	System	(paragraph	31.k.)	If	
supportive	document	is	not	provided	prior	to	the	next	scheduled	tour,	this	paragraph’s	compliance	rating	
may	change.

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            is	materially	consistent	with	the	incident	as	reviewed	on	the	videos.	(paragraph	
            31h.)	
	
32.	Safety	and	Security	–	Substantial	Compliance	
	
March	2016	-	There	are	thirteen	(13)	paragraphs	in	the	Agreed	Order,	which	address	
safety	and	security.		All	of	these	paragraphs	have	remained	in	substantial	compliance	since	
at	least	February	2013.			
	
        Since	the	tour	in	April	2015:		
	
        • CCDOC	is	using	a	contractor	to	write	and	update	written	directives.		The	goal	of	
           this	revised	process	is	to	create	directives	that	are	more	clear	and	“user-friendly”	
           for	the	employees.	(32.a.,	b.,	g.,	h,	i.)	
        • I	reviewed	a	sample	of	logs	from	housing	units	in	all	divisions	and	am	satisfied	
           that	there	are	rounds	conducted	as	prescribed	by	the	Agreed	Order.		(32.c.,	d.)	
        • There	are	more	3,000	video	cameras	throughout	all	divisions.		Two	thousand	of	
           there	are	currently	integrated	into	one	system,	with	requests	made	for	funding	
           to	integrate	the	remaining	cameras.		The	Video	Monitoring	Unit	created	to	be	
           pro-active	in	reviewing	live	cameras,	as	well	as	reviewing	incidents,	and	
           referring	these	to	appropriate	investigators	has	a	staff	of	18,	with	two	additional	
           personnel	planned.				The	Video	Monitoring	Unit	reports	to	CCDOC’s	Inspector	
           General.		(32.e.)	(33.i.3.)	
        • There	continue	to	be	sufficient	strategies	to	address	contraband	in	CCDOC.		Since	
           the	last	tour,	there	have	been	increased	reports	of	“hooch”	being	made	by	
           inmates,	which	present	a	need	for	increased	searches	of	individual	cells,	and	
           collaboration	for	the	food	service	provider	to	limit	the	source	items	needed	to	
           make	the	“hooch”.		(32.f)	
        • The	Weapons	Free	Committee’s	work	continues	with	collaboration	with	officers	
           and	supervisors,	as	well	as	the	investigators,	gang	officers,	and	the	emergency	
           response	team.		Not	only	is	the	Committee	engaged	in	identifying	shanks	and	
           other	weapons	that	inmates	can	manufacture,	but	also	contraband	that	can	be	
           brought	into	secure	areas	by	employees,	contractors,	volunteers	and	visitors.		Of	
           particular	concern	is	the	contraband	found	in	the	possession	of	arrestees	–	who	
           presumably	have	been	searched	by	the	arresting	agency,	and	some	of	whom	
           have	been	held	for	several	days	in	those	agencies’	lock-ups.			The	CCDOC	facilities	
           do	not	experience	inmate	injuries	from	weapons	manufactured	by	inmates,	and	
           in	fact	inmates	want	to	turn	over	potential	weapons	as	negotiation	points	for	
           improved	living	conditions.		(32.f)	
        • I	did	not	evaluate	the	specific	formal	training	on	division-specific	SOPs	on	this	
           tour.	(32.	j.)		Dr.	Metzner	and	I	conferred	regarding	the	training	for	Cermak	and	
           inmates	on	the	mental	health	caseload.	
        • I	did	not	observe	any	malfunction	of	security	equipment.	(32.k.)	
        • I	did	not	observe	any	inmate	housing	in	violation	of	32.l	or	32.m.		As	noted	in	the	
           Executive	Summary,	Divisions	1,	17	and	3	are	now	closed.		In	Division	4	where	

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            the	women	are	all	now	housed,	there	were	units	in	which	no	inmates	were	
            assigned.		In	Division	5,	no	inmates	are	presently	housed.	
	
Paragraph	32.f.	provides	“CCDOC	shall	maintain	a	procedure	to	prevent	inmates	from	
possessing	or	having	access	to	dangerous	contraband,	including	conducting	regular	
inspections	of	cells	and	common	areas	of	the	housing	units	to	identify	and	prevent	rule	
violations	by	inmates.”			CCDOC	has	been	an	innovator	in	dealing	with	the	contraband	
found	in	the	jail	–	that	contraband	that	finds	it	way	inside	the	jail,	and	that	which	is	
manufactured	inside.		The	work	of	the	Weapons	Free	Committee	was	instrumental	in	a	
change	to	the	overhead	lighting	to	prevent	pieces	of	the	lighting	from	being	manufactured	
into	weapons.				The	written	directive	governing	the	Weapons	Free	initiative	calls	for	
reporting	regarding	the	analysis.		The	last	report	submitted	to	me	was	insufficient	in	terms	
of	both	analysis	and	action	planning.			
	
For	paragraph	32.f.,	prior	to	the	next	tour	I	request	that	the	analysis	of	
contraband/weapons	be	done	that	is	more	thorough	and	if	action	plans	to	address	the	
recoveries	are	needed,	these	plans	are	objective,	time	sensitive	and	have	accountability.		
Otherwise,	the	compliance	rating	for	this	paragraph	may	change.			
	
A	significant	issue	for	CCDOC	since	the	last	tour	has	been	the	management	of	a	small	group	
of	inmates,	who	have	named	themselves	“Savage	Life”.		These	young,	male	inmates,	engage	
in	activities	to	cause	substantial	disorder	including:		suicide	and	self-harm	attempts,	
manufacture	of	ligatures,	jumping/rolling	from	second	levels	of	housing	units,	setting	fires,	
overt	sexual	displays,	including	masturbation	in	front	of	female	officers,	program	and	
medical	staff,	spraying	urine	and	feces	on	staff	and	other	inmates,	fighting	with	other	
inmates,	vandalism,	self-mutilation,	ingestion	of	nuts,	bolts,	screws,	alleged	medications,	
verbal	threats,	and	hunger	“strikes”.		After	reviewing	the	individual	inmates,	it	was	
determined	that	most	were	not	on,	nor	needed	to	be	on	the	mental	health	caseload.		This	
group	of	inmates	also	contributed	to	an	uptick	in	uses	of	force	during	CY	2015.		(32.i)	This	
is	a	very	difficult	circumstance	which	challenges	the	most	creative	problem-solvers.	
	
In	order	to	address	this	disorder,	CCDOC	compiled	data	not	only	about	the	inmates	
involved,	but	also	the	units,	time	of	day,	etc.	to	develop	a	plan	of	action.		The	actions	to	
address	this	small	group	of	inmates	have	been	successful	in	diminishing,	but	not	
eliminating	the	behaviors.		The	actions	to	address	the	behaviors	included:		increasing	
programming	in	the	units	for	inmates	not	on	the	mental	health	caseload	by	CCDOC	staff,	
providing	more	on-site	medical	triage	care	to	prevent	having	to	take	inmates	out	of	the	
building	(one	of	the	inmates’	goals),	establishing	special	incarceration	tiers	for	these	
inmates	to	better	manage	their	behaviors;	placing	plastic	covers	over	open	slots	in	doors	to	
keep	inmates	from	projecting	liquids,	locking	the	feeding	tray	areas	between	feeding,	
increasing	out-of-cell	time,	having	staff	clearly	set	behavioral	expectations,	and	increasing	
programming	for	inmates	on	the	mental	health	caseload	by	Cermak.				
	
The	expected	outcomes	of	this	approach	are:		to	decrease	the	number	and	severity	of	
incidents,	decrease	grievances,	decrease	movement	to	outside	hospitals,	decrease	staff	and	
inmate	injuries,	decrease	uses	of	force,	reduce	the	number	of	inmates	in	segregation,	

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improve	employee	job	satisfactions,	and	increase	programming	hours.7	
	
    Monitor’s	Recommendations	(See	also	Executive	Summary):	
	
    32–1	 Assure	that	training	curricula	are	updated	as	new	written	directives	are	issued.	
    32-2	 Assure	that	division-specific	SOPs	are	updated	as	needed	based	on	changes	in	
            policy	and	changes	to	the	inmate	population/	classifications	held	in	the	divisions.	
    32-3 Assure	that	the	sources	of	contraband	continued	to	be	identified,	analysis	
            conducted,	and	plans	of	action	developed	for	significant	findings.		Continue	to	
            work	with	area	law	enforcement	agencies	regarding	adequacy	of	arrestee	
            searches,	and	notification	to	the	agency	head	(not	just	a	shift	supervisor)	when	
            contraband	is	found	on	arrestees	that	had	previously	been	in	that	agency’s	
            custody.	
    32-4 As	part	of	the	annual	staffing	review,	assure	that	the	Video	Monitoring	Unit	has	
            the	staff	and	supervisors	necessary	for	their	functions.	
    32-5 Train	staff	who	are	working	in	direct	supervision	housing.	
    32-6 Assure	that	the	County	is	developed	appropriate	jail	construction	plans	to	
            prevent	crowding	and	build	in	accordance	with	the	classification	of	inmates.	
    32-7 Continue	to	monitor	inmate	sub-groups	presenting	security	issues,	and	develop	
            plans	of	action	as	necessary;	evaluate	impact	of	plans	of	action.	
	
33.	 Security	Staffing	-	Substantial	Compliance	
	
There	are	ten	(10)	paragraphs	that	address	the	staffing	needs	of	CCDOC.		All	ten	paragraphs	
have	remained	in	substantial	compliance	at	least	since	September	of	2014.			
	
As	noted	in	the	Executive	Summary,	CCDOC	has	closed	Divisions	1,	3,	and	17	allowing	
deployment	of	staff	throughout	the	compound.		CCDOC	is	monitoring	the	assignment	of	
staff,	and	particularly	the	use	of	overtime	to	assess	immediate	needs	to	hire	staff.			
	
To	summarize	findings	from	this	most	recent	tour:	
	
        • CCDOC	reports	that	as	of	1/11/2016	there	were	30	correctional	officer	
            vacancies.	(33.	a.,	b.,	c.)	
        • A	class	of	53	new	corrections	officer	began	on	2/15/16.	
        • There	are	pre-service	training	classes	tentatively	scheduled	through	the	end	of	
            2016	to	accommodate	training	for	needed	vacant	positions.	
        • CCDOC	reports	that	they	are	filling	supervisory	vacancies	(which	creates	
            vacancies	at	the	officer	rank)	more	promptly	than	in	previous	years.			
																																																								
7	CCDOC	reports	it	has	identified	these	small	groups	of	offenders	and	implemented	proactive	measures	to	
address	future	concerns.		CCDOC	believes	that	the	changes	to	the	ADO	Blasts	and	AO	blasts,	Daily	Snapshots,	
and	CIID	weekly	meetings	have	aided	CCDOC	in	identifying	these	offenders	and	groups.		In	furtherance,	
CCDOC	believes	it	has	taken	a	more	creative	approach	than	before	September	2015	to	organizing	programs	
like	Men’s	Wellness,	Second	Chance,	Psalms	1,	and	Malachi	Dads	to	high-risk	offenders.		The	data	indicates	
these	measures	have	been	successful,	in	part,	in	reducing	incidents	among	the	targeted	populations.			

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         •   CCDOC	reports	that	they	have	revamped	their	field	training	officer	program	for	
             newly	hired	correctional	officers,	including	an	increased	in	the	number	of	field	
             training	officers	from	approximately	15	to	50.		This	is	a	significant	improvement	
             for	not	only	retention	of	newly	hired	employees,	but	also	assures	that	they	can	
             perform	their	job	based	on	the	policies	and	procedures.		
         •   CCDOC	has	initiated	Crisis	Intervention	Training	(CIT)	for	not	only	those	staff	
             who	are	assigned	to	work	with	inmates	on	the	mental	health	caseload,	but	also	
             throughout	the	compound	to	diffuse,	deescalate,	and	manage	volatile	inmates.	
         •   CCDOC’s	Office	of	Research	has	provided	an	annual	staffing	study	to	assess	what	
             staff,	and	at	what	rank	are	needed	to	operate	a	Constitutional	jail	system.		This	
             was	conducted	for	each	division.		I	have	reviewed	the	draft	dated	March	1,	2016,	
             and	have	suggested	that	the	work	be	re-evaluated	to	assure	that	the	shift	relief	
             factor	is	accurate	(based	on	5	and/or	7	day	posts)	and	that	staff	who	are	detailed	
             to	functions	outside	of	their	assigned	position	(e.g.	someone	assigned	to	a	
             division	and	detailed	to	the	Video	Monitoring	Unit)	are	accounted	for,	and	that	
             the	on-going	staffing	needs	of	the	units	to	which	staff	are	detailed	are	adequately	
             staffed.		It	appears	from	the	preliminary	analysis	that	the	hiring	process	will	
             accommodate	the	present	and	anticipated	vacancies	in	CCDOC	through	the	end	
             of	2016.		(33.d.,	e.,	f.,	g.2.,	h.)				
         •   Staffing	has	increased	in	areas	such	as	the	Use	of	Force	Review	Unit	to	19;	and	as	
             noted	above	in	the	Video	Monitoring	Unit	to	18	(and	20	in	the	near	future).		
             (33.i.3.).	
         •   Staffing	for	investigations	is	reported	as	satisfactory,	reported	in	OPR	(33.i.1.).	
         •   There	are	no	reports	of	“cross-watching”.	(33.i.,	j.).	
	
      Monitor’s	Recommendations:			
	
   33-1	 Review	the	staffing	analysis	for	the	accuracy	of	the	shift	relief	factor	and	the	
         accounting	for	use	of	staff	assigned	to	details	on	the	staffing	of	the	units	to	which	
         details	are	assigned.	
   33-2	 Continue	to	evaluate	staffing	against	overtime	costs,	and	fluctuations	in	jail	
         population.	
   33-3	 Review	the	recommendation	of	the	medical	monitor,	Dr.	Emil	Porsa’s	November	
         2015	report	regarding	CCDOC		providing	sufficient	staff	to	transport	inmates	for	
         internal	and	external	transports	of	emergency	health	needs	(page	25).		
         Determine	if	this	finding	is	the	result	of	amount	of		staffing	resources,	
         supervision,	and/or	deployment.	
   33-4	 Assure	that	there	is	sufficient	staffing	in	the	classification	unit	to	oversee	and	
         manage	ALL	bed	placements	in	all	divisions	(and	not	have	the	bed	assignments	
         managed	in	the	division	absent	exigent	circumstances).		See	also	paragraph	37.	
	      	
34.	 Incidents	and	Referrals	–	Change	in	Compliance	For	Sub-Paragraphs	34.d.	and	
34.f.	
	
March	2016	-	There	are	seven	(7)	paragraphs	in	the	Agreed	Order	that	address	incidents	

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and	referrals.		All	of	these	paragraphs	have	remained	in	substantial	compliance	at	least	
since	February	2013.				Following	this	compliance	tour,	sub-paragraphs	34.d.	and	34.f.	is	
moved	to	partial	compliance	
	
To	assess	the	process	for	incidents	and	referrals,	I	review	each	week’s	summary	reports,	
and	then	send	any	questions	to	CCDOC.		These	questions	ask	for	retention	of	video	for	my	
review,	request	more	information	about	an	event	or	an	inmate,	or	inquire	about	trends.		As	
I	have	access	to	CCOMS	I	can	review	many	of	the	source	documents	(e.g.	incident	reports,	
use	of	force	reports,	subject	and	witness	statements).		As	noted	in	the	Executive	Summary,	
CCDOC	has	not	always	provided	timely	responses	to	questions,	and	in	early	March	2016	
finally	caught	up	with	responses	and	videos	from	April	2015	forward.	
	
Specific	findings:	
	
        • I	have	found	that	staff	are	reporting	as	required.		There	are	on-going	issues	with	
            the	quality	of	reports;	but	not	with	the	act	of	reporting	itself.		(34.a.).	
        • Training	continues	to	be	provided,	and	is	being	updated	by	the	new	
            administration	at	the	training	academy	(34.b.).	
        • CCOMS	includes	all	elements	required	by	the	Agreed	Order	(34.c.).	
        • CCDOC	provides	for	daily	review	of	reports	including	by	the	supervisors,	
            superintendents,	and	Video	Monitoring	Unit.	Grievance	reports	are	also	
            reviewed	for	allegations	of	misconduct	and/or	use	of	force.	(34.d.	and	e.).	
        • Policies	and	procedures	are	in	place	to	accomplish	the	requirements	of	the	
            Agreed	Order	in	terms	of	investigations.		See	also	35.	Investigations.		(34.f.).	
        • OPR	refers	incidents	to	the	prosecutor.		OPR’s	report	for	CY	2015	indicates:	
            (34.g.)	
                     o 15	CCDOC	officers	or	contract	employees	charged/arrested	with	
                        criminal	acts;	
                     o 13	cases	presented	for	prosecution	and	declined;	and	
                     o 3	cases	presented	and	pending.	
	
Paragraph	34.d.	provides:		“CCDOC	shall	require	prompt	administrative	review	of	incident	
reports.		Such	reviews	shall	include	a	case-by-case	review	of	individual	incidents	as	well	as	
a	systemic	review	in	order	to	identify	patterns	of	incidents.		CCDOC	shall	incorporate	such	
information	into	quality	management	practices	and	take	necessary	corrective	action.”			
Findings	from	this	tour	indicate	that	the	processes	to	support	this	provision	continue	to	
evolve,	and	are	not	concluded	either	in	policy	or	in	operation.		CCDOC	has	made	enormous	
strides	in	working	on	the	requirements	of	this	provision.				
	
Paragraph	34.f.	provides:		“CCDOC	shall	maintain	policies,	procedures	and	practices	
requiring	investigations	to	resolve	issues	identified	during	review	of	incident	reports,	
disciplinary	hearings,	or	inmate	grievances,	and	determine	appropriate	remedies,	in	
accordance	with	generally	accepted	correctional	standards.		At	a	minimum,	CCDOC	shall	
require	timely	and	appropriate	investigations	of	all	suicides,	serious	suicide	attempts,	
inmate-on-inmate	violence	resulting	in	serious	injury,	inmate-on-staff	violence,	inmate	

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injuries	requiring	treatment	by	an	outside	hospital,	inmate	injuries	of	a	suspicious	nature	
(including	black	eyes,	injuries	to	the	mouth,	injuries	to	the	genitals,	etc.),	sexual	misconduct	
between	inmates,	sexual	misconduct	involving	staff,	fires,	escapes,	escape	attempts,	and	
deaths.”	
	
To	achieve	compliance	with	paragraphs	34.d.	and	34.f.	CCDOC	must	develop	their	quality	
assurance/quality	insurance	directives,	and	demonstrate	as	much	as	possible	seamless	
coordination.		The	work	is	evolving,	but	because	of	the	critical	nature	of	this	provision,	I	
need	to	see	more	concrete	outcomes.		As	noted	earlier	in	this	report,	this	expectation	does	
not	suggest	that	reports	are	ignored	or	are	not	acted	upon,	but	rather	that	refinements	are	
needed.	
	
       Monitor’s	Recommendations:			
	
       34-1	 Implement	changes	to	regain	compliance	for	paragraphs	34.d.,	and	34.f.	
       302	 Complete	the	written	directives	and	processes	governing	critical	self-analysis	
                    (quality	assessment/quality	improvement)	and	demonstrate	this	process	
                    through	reporting.	
       34-2	 Continue	to	monitor	employee	reporting	for	documentation	of	additional	
                    remedial	training	needed	for	an	employee,	and	trends	for	pre-service	and/or	in-
                    service	training.	
	
35.	 Investigations	–	Substantial	Compliance	
	
There	are	seven	(7)	paragraphs	in	the	Agreed	Order	governing	investigations	that	have	
remained	in	substantial	compliance	since	February	2013.			
	
To	assess	on-going	compliance	for	this	tour	I:	
	
              • Reviewed	the	annual	report	provided	by	OPR;	and	
              • Reviewed	staffing	for	OPR.	
              • OPR	also	provided	a	table	of	contents	for	their	SOP	that	I	find	acceptable	(35.a.).			
                    	
I	did	not	review	individual	case	files	as	I	have	done	this	for	the	previous	10	tours	and	not	
found	any	deficiencies.	(35.c.,	d.,	and	g.)	OPR	provided	the	listing	of	training	in	staff	
participated	in	CY	2015	(35.e.,	f.)		I	will	review	investigative	files	during	the	next	tour.	
	
       Monitor’s	Recommendations:			
	
       35-1	 Assure	continued	evaluation	of	staffing	needs	for	OPR.	(see	also	paragraph	33).8	
	
36.	 Inmate	Disciplinary	Process	–	Substantial	Compliance	
	
																																																								
8	The	completion	of	these	activities	and	provision	to	me	by	mid-August	is	necessary	to	assure	that	the	
compliance	rating	for	paragraph	35.a.	will	not	change.	

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March	2016	-	There	are	six	(6)	paragraphs	in	the	Agreed	Order	that	address	the	inmate	
disciplinary	process	that	have	all	been	in	substantial	compliance	since	at	least	July	2012.			
	
To	assess	CCDOC’s	on-going	compliance	for	these	requirements	I:	
	
        • Reviewed	the	data	for	2015,	and	in	comparison	to	2014	to	examine	trends	and	
            issues.	
	
I	did	not	observe	during	this	tour	the	actual	hearings	as	I	did	in	previous	tours.		I	also	did	
not	hear	any	inmates	expressing	concerns	regarding	the	disciplinary	process;	although	I	
did	hear	confusion	from	some	inmates	in	segregation	as	to	whether	they	were	serving	
disciplinary	sanctions	or,	in	my	view,	been	reclassified.	
	
Approximately	the	same	number	of	disciplinary	reports	were	written	in	2014	and	2015,	
with	an	increase	in	guilty	findings,	and	invalid	disciplinary	write-ups.		Fewer	disciplinary	
citations	expired,	indicating	the	time	lines	in	due	process	were	managed	on	time.		CCDOC	
explains	that	the	increase	in	guilty	findings	is	attributable	to	improved	employee	report	
writing,	along	with	the	ability	of	hearing	officers	to	view	video	of	the	incident.		(36.a.,b.,	c.,	
d.	)		Data	provided	by	CCDOC	notes	the	number	of	instances	where	an	inmate	on	the	mental	
health	case	load	was	referred	to	Cermak	for	additional	information	(36.e.)	There	is	some	
confusion	about	regarding	how	inmates	on	the	mental	health	caseload	should	serve	
disciplinary	sanctions	and	for	how	long.		I	defer	to	Dr.	Metzner’s	up-coming	tour	to	confer	
with	CCDOD	and	Cermak.		Previously	Cermak	determined	that	they	did	not	want	to	
participate	on	a	hearing	panel	(36.f.)			
	
     Monitor’s	Recommendations:			
	
     36-1		 Work	with	Dr.	Metzner	to	clarify	how	time	limits	are	established	for	inmates	on	
            various	mental	health	levels	in	segregation	pursuant	to	a	guilty	finding.		Commit	
            this	to	policy	and	monitor.	
     36-2	 Conduct	analyses,	examine	the	trends	in	disciplinary	data	(guilty,	not	guilty,	
            expired,	invalid,	discharged,	transfer	to	other	custody)	and	develop	plans	of	
            action,	as	needed,	to	address	deficiencies.	
     36-3	 Assure	that	inmates	who	are	reclassified	to	segregation	are	provided	this	
            information	so	they	are	clear	it	was	not	a	disciplinary	process,	and	they	should	
            not	expect	a	disciplinary	hearing.	
	
37.	 Classification	–	Substantial	Compliance	
	
March	2016		-	There	are	five	(5)	paragraphs	in	the	Agreed	Order	that	address	the	inmate	
classification	process	that	have	all	been	in	substantial	compliance	since	at	least	September	
2014.	
	
The	revised	classification	process	was	implemented	in	October	2014,	and	is	now	in	the	
process	of	having	an	external	validation	study	conducted.		This	study	will	assess	whether	
the	elements	of	the	system	are	resulting	in	safe	housing	of	inmates	based	on	incidents	and	

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disciplinary	actions.		(37.a.,	b.)		The	Unit	is	conducting	self-audits	of	the	process	for	both	
initial	and	re-classification.	
	
Three	areas	of	concern:		first,	CCDOC	should	consider	the	establishment	of	classification	
housing	–	that	is,	secure	housing	for	newly	arriving	inmates,	in	a	place	that	facilitates	
medical,	mental	health	and	classification.		With	the	available	space	in	Division	5,	this	may	
be	possible,	if	supported	by	the	data,	and	Cermak	can	provide	staff.		Data	supporting	a	
classification	unit	would	show	that	there	are	a	high	percentage	of	incoming	inmates	who	
are	released	between	72-96	hours	of	arriving	in	CCDOC.		A	classification	housing	unit	can	
safety	accommodate	these	newly	arriving	inmates,	and	save	resources	for	re-housing	the	
inmate,	only	to	have	them	released.			
	
Secondly,	the	Classification	Unit	MUST	assign,	absent	exigent	circumstances,	all	bed	space	
in	all	division	at	CCDOC.		This	required	system	requirement	is	apparently	hampered	by	
staffing	in	the	Unit.		The	staffing	to	perform	this	function	must	be	provided.9		
	
Thirdly,	an	jail	the	size	of	CCDOC	needs	to	be	able	to	conduct	it’s	own	periodic	validation	
study	of	inmate	classification.		The	leadership	may	want	an	outside	validation	from	time-
to-time,	but	in	the	interim,	adjustments	to	the	various	factors	and	weights	should	be	able	to	
be	made,	and	documented	internally.		(37.e.)	
	
The	level	system	is	no	longer	in	use	in	CCDOC	per	the	Executive	Director.	(37.c.)	
	
The	new	information	system,	much	more	robust	than	that	planned	at	the	time	of	the	
Agreed	Order,	e.g.	CCOMS,	has	fully	functional	capabilities	and	tailored	dashboards	to	
support	classification	((37.b.,	d.)	
	
    Monitor’s	Recommendations:			
	
    37-1	 Provide	the	staffing	for	the	Classification	Unit	so	that	the	unit	can	manage	ALL	
             bed	assignments	(changes,	re-classifications,	etc.)	for	ALL	divisions,	absent	
             exigent	circumstances.	
    37-1	 Provide	the	resources	after	working	with	the	external	consultant	to	conduct	
             periodic	(no	less	than	every	18	months)	validation	studies	of	the	classification	
             system.	
	
38.	 Inmate	Grievance	Process	–	Change	in	Compliance	For	Sub-Paragraph	38.d.		
	
March	2016	-	There	are	four	(4)	paragraphs	in	the	Agreed	Order	that	address	the	inmate	
grievance	process	and	all	have	been	in	substantial	compliance	since	at	least	August	2011.			
This	particular	section	of	the	Agreed	Order	was	one	of	the	last	to	gain	compliance	as	CCDOC	
re-thought	how	the	grievance	process	would	work.			
																																																								
9	CCDOC	reports	that	the	staffing	of	the	Classification	Unit	was	increased	with	the	closure	of	Divisions	1,	3,	
and	17,	and	expects	to	have	Centralized	Classification	control	all	classification,	housing,	and	bed	assignment	
decisions	by	May	2016.				

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At	this	time,	I	find	that	sub-paragraph	38.	d.	is	now	in	partial	compliance:		“CCDOC	shall	
ensure	that	inmate	grievances	are	screened	for	allegations	of	staff	misconduct	and,	if	the	
incident	or	allegation	meets	established	criteria,	are	referred	for	investigation.		A	member	
of	the	management	staff	shall	review	the	grievance	tracking	system	regularly	in	order	to	
identify	areas	of	concern	(emphasis	added).”		This	change	in	compliance	is	based	on	a	
review	of	the	last	sentence	of	the	paragraph.			
	
Written	Directive	24.15.5.0	provides	in	Section	XI.	E.	“Inmate	Services	shall	conduct	an	
annual	audit	of	the	grievance	system	and	collected	grievance	data.		The	findings	of	the	audit,	
as	well	as	recommendations	for	improvement	to	the	system,	shall	be	shared	with	the	
CCDOC	Executive	Director.”		There	was	no	report	provided.					
	
The	written	directive	governing	grievances	includes	this	provision,	practically,	I	am	unable	
to	identify	that	the	work	has	been	done.		Inmate	grievance	systems	are	essential	to	alerting	
leadership	of	emerging	trends,	as	well	as	longer	standing	issues	of	the	inmate	population.		
CCDOC	has	struggled,	but	finally	developed	a	process	to	assure	there	are	few	impediments	
to	inmates	filing	grievances,	but	the	last	step	of	analyzing	data	and	developing	remedial	
plans	has	not	been	accomplished.		(See	also	the	discussion	in	the	Executive	Summary	
regarding	quality	assessment/quality	improvement.)	
	
The	other	three	paragraphs	in	this	section	remain	in	substantial	compliance.			
	
To	assess	CCDOC’s	compliance	for	paragraph	38.:	
	
        • Received	an	oral	overview	of	the	grievance	system	by	the	person	in	charge;	
        • Reviewed	the	CCDOC	grievance	data	including	the	self-audits	of	the	system;	and	
        • Asked	inmates	about	the	grievance	process.		I	heard	no	complaints	from	inmates	
            (primarily	those	in	segregation	units)	about	the	grievance	process	or	access	to	
            grievance	forms.	(38.c.)	
	
I	reviewed	the	aggregate	grievance	data	and	noted	trends	for	which	no	specific	analysis	or	
plans	of	action	were	noted.			I	asked	questions	of	CCDOC	regarding	these	items:		with	
population	down,	has	there	been	a	corresponding	assessment	of	the	trends	regarding	
inmate	grievances;		potential	duplicative	data	in	the	body	of	the	report;		a	large	increase	in	
grievances	in	two	divisions	with	no	explanation;		self-reported	increases	in	medical	
grievances;	impact	of	facility	leadership	on	grievance	numbers;		numbers	of	grievances	
regarding	religious	diets;	and	the	overall	clarity	of	the	reporting.		The	responses	received	
were	insufficient.		CCDOC’s	response	agreed	with	me	that	the	information	was	sometimes	
difficult	to	interpret	and	analyze	and	that	no	in-depth	analysis	has	been	conducted	in	most	
of	the	specific	areas	I	noted.	
	
Each	weekly	report	from	CCDOC	begins	with	a	data	report	of	the	grievances	by	type	and	
Division	from	the	previous	week.		This	indicates	to	me	that,	generally,	there	is	a	level	of	
importance	placed	on	these	numbers.		However,	there	is	no	analysis	of	the	data.			While	the	


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data	is	collected,	and	quality	review	of	the	responses,	along	with	an	assessment	of	the	
timeliness	of	responses	based	on	the	policy,	I	find	that	the	most	important	part	of	the	
process	–	looking	at	what	the	data	is	telling	the	leadership	is	not	done.			
	
A	commendable	element	of	the	grievance	process	is	an	“early	warning	system”	that	flags	
staff	who	may	need	help	with	their	communication	skills	with	inmates.		Since	the	program	
started	in	November	2014,	120	early	warning	alerts	have	been	issued,	with	20	of	those	
individuals	receiving	more	than	one	alert.		Staff	assigned	to	the	Grievance	process	offer	the	
staff	person	the	opportunity	to	discuss	the	issues	(non-disciplinary).		To	date,	no	staff	have	
received	2	alerts	have	received	another	alert.		
	
Regarding	the	self-audit	process	in	which	5%	of	all	grievances	are	reviewed	(369	
grievances	for	CY	2015),	82%	were	determined	to	have	timely	and	acceptable	responses;	
4%	were	determined	to	have	been	addressed	timely	but	had	unacceptable	responses;	and	
15%	were	now	managed	timely,	but	contained	acceptable	responses.	(38.b.)	
	
The	summary	of	grievances	for	each	division,	by	topic,	is	provided	to	CCDOC	leadership	
each	week.	(38.a.,d)			
	
Monitor’s	Recommendations:			
    	
    38-1		 Assure	that	there	is	collaboration	between	the	“early	warning”	system	for	
            grievance	system	and	other	employee-based	misconduct	reporting.	
    38-2	 Review,	and	update	as	necessary,	the	analyses	and	reporting	provisions	of	the	
            written	directive	governing	grievances.		Assure	that	there	is	adequate	staffing,	
            resources,	and	oversight	for	the	reporting	and	analysis	requirements,	along	with	
            the	development	and	implementation	of	objectively	measurable	plans	of	action.	
	
39.	 Access	to	Information	–	Substantial	Compliance	
	
 March	2016	-	There	are	two	(2)	paragraphs	in	the	Agreed	Order	that	address	access	to	
 information	all	of	which	has	been	in	substantial	compliance	since	at	least	February	2013.			
 	
 I	did	not	review	specific	compliance	with	these	two	provisions	on	this	tour.		I	did	hear	
 inmates	tell	me	that	they	had	access	to	the	inmate	handbook	because	they	were	disputing	
 their	treatment	based	on	the	specific	provisions.		I	will	reassess	my	previous	
 recommendations	on	the	next	tour.	
 	
 40.	 Agreed	Order	–	Substantial	Compliance		
 	
 March	2016	-	There	is	one	(1)	paragraph	in	the	Agreed	Order	that	address	training	which	
 has	been	in	substantial	compliance	since	at	least	August	2011.			
 	
 I	have	access	to	a	CCDOC	laptop	for	use	in	accessing	CCOMS	and	can	see	the	Agreed	Order	is	
 on	the	system,	allowing	access	by	any	employee	wanting	to	see	the	information.			
	

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41.	     Inter-Agency	Agreement	–	Substantial	Compliance	
	
March	2016	-	There	is	one	(1)	paragraph	in	the	Agreed	Order	that	addresses	the	Inter-
Agency	Agreement	that	has	been	in	substantial	compliance	since	August	2011.			
	
As	the	end	of	the	monitoring	for	the	Agreed	Order	is	approaching	the	parties	are	urged	to	
reconsider	the	original	document	with	an	eye	toward	sustainability	of	the	achievements	
toward	a	Constitutional	jail.		Much	has	changed	in	CCDOC,	Cermak	and	DFM	since	this	
process	began.		The	parties	should	incorporate	the	lessons-learned	as	well	as	assure	on-
going	documentation	of	the	expected	continued	improvements.	
	
    Monitor’s	Recommendations:			
    	
    41-1	 Update	the	Inter-Agency	Agreement	to	refine	it,	assure	sustainability,	and	
            address	identified	issues	since	it’s	adoption.	
	
69.	 Cut	–Down	Tool	–	Substantial	Compliance	
Coordinate	with	Dr.	Metzner	
	
March	2016	-	There	is	one	(1)	paragraph	in	the	Agreed	Order	that	addresses	the	
availability	of	cut-down	tools	that	has	been	in	substantial	compliance	since	at	least	August	
2011.			
	
Data	supplied	by	CCDOC	indicates	(via	the	dashboard)	that	the	tool	was	used	203	times	in	
CY	2015	(as	compared	to	95	uses	in	CY	2014),	with	the	most	use	in	Division	10	and	9	due	
to	inmate	management	challenges	there10,	in	Division	6,	and	in	the	Division	8/RTU.		The	
data	has	been	analyzed	by	event	type,	time	of	day	and	day	of	week,	as	well	as	by	quarter.	
	
    Monitor’s	Recommendations:			
    	
    69-1	 CCDOC	continues	to	analyze	the	data	by	housing	unit,	mental	health	status	of	the	
            inmate,	significance	of	the	attempt,	and	training	and/or	policy	implications,	if	
            any.			




																																																								
10	http://wgntv.com/2016/02/01/cook-county-jail-inmates-accused-of-harassing-female-guards-attorneys/	accessed	3/12/16	


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                     Summary	of	Compliance	Corrections	Monitor’s	11th	Report	
                                                  Based	on	the	Tour	Week	of	March	7,	2016	
                                                                              	
   	                                                              	




                                                                                                                               Compliance	




                                                                                                                                              Compliance	




                                                                                                                                                            compliance	
                                                                                                                               Substantial	
   	                                                              	




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                                                                                                                                                               Non-
Section	                                                      Language	
(Page)	
    A.	      Protection	from	Harm	
             	
    31.	     Use	of	Force	by	Staff	
   (21)	     	
A.	31.	a.	   CCDOC	shall	maintain	comprehensive	and	contemporary	policies	and	procedures,	in	accordance	with	                    x12/11	      x	9/10	               	
     	       generally	accepted	correctional	standards,	surrounding	the	use	of	force	and	with	particular	emphasis	                x7/12	      x	3/11	
             regarding	permissible	and	impermissible	uses	of	force.	                                                              x2/13	      x	8/11	
                                                                                                                                  x9/13	
                                                                                                                                  x3/14	
                                                                                                                                  x9/14	
                                                                                                                                  x4/15	
                                                                                                                                  x3/16	
A.31.	b.	    CCDOC	shall	maintain	use	of	force	policies	and	pre-service	and	in-service	training	programs	for	correctional	       x12/11	      x	9/10	               	
	            officers	and	supervisors	that	address	the	following	impermissible	uses	of	force:	                                    x7/12	      x	3/11	
    		       1. use	of	force	as	a	response	to	verbal	insults	or	inmate	threats	where	there	is	no	immediate	threat	to	the	         x2/13	      x	8/11	
                  safety	of	the	institution,	inmates,	or	staff;	                                                                  x9/13	
             2. use	of	force	as	a	response	to	inmates’	failure	to	follow	instructions	where	there	is	no	immediate	threat	to	      x3/14	
                  the	safety	of	the	institution,	inmates,	or	staff,	unless	CCDOC	has	attempted	a	hierarchy	of	nonphysical	        x9/14	
                  alternatives	that	are	documented;	                                                                              x4/15	
             3. use	of	force	as	punishment	or	retaliation;	                                                                       x3/16	
                                                                                                                                     	
             4. use	of	force	involving	striking,	hitting,	or	punching	a	restrained	and		non-combative	inmate;	
             5. use	of	force	against	an	inmate	after	the	inmate	has	ceased	to	offer	resistance	and	is	under	control;	
             6. use	of	choke	holds	on	an	inmate,	unless	lethal	force	is	justified;	and		
             7. use	of	inappropriate	or	excessive	force.	
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                                                                                                                                 Compliance	




                                                                                                                                                Compliance	




                                                                                                                                                              compliance	
                                                                                                                                 Substantial	
   	                                                               	




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                                                                                                                                                                 Non-
Section	                                                       Language	
(Page)	
    	        accordance	with	generally	accepted	correctional	standards.		                                                           x7/12	       x	3/11	
    		                                                                                                                              x2/13	       x	8/11	
    		                                                                                                                              x9/13	
                                                                                                                                    x3/14	
                                                                                                                                    x9/14	
                                                                                                                                    x4/15	
                                                                                                                                    x3/16	
A.31.d.	     CCDOC	shall	require	that	use	of	force	reports:	                                                                       x12/11	      x	9/10	               	
   	         1.        be	written	in	specific	terms	in	order	to	capture	the	details	of	the	incident	                                x7/12	      x	3/11	
   		        2.        contain	an	accurate	account	of	the	events	leading	to	the	use	of	force	incident;	                             x2/13	      x	8/11	
             3.        include	a	description	of	the	instrument(s)	of	restraint	or	control,	if	any,	and	the	manner	in	which	it	      x9/13	
                       was	used;	                                                                                                   x3/14	
             4.        note	whether	an	inmate	disciplinary	report	was	completed	in	connection	with	the	incident	that	               x9/14	
                       prompted	the	use	of	force;	                                                                                  x4/15	
             5.        describe	the	nature	and	extent	of	apparent	and	reported	injuries	sustained	both	by	the	inmate	and	           x3/16	
                       staff	member;	
             6.        contain	the	date	and	time	medical	attention	was	actually	provided;	
             7.        describe,	in	detailed,	factual	terms,	the	type	and	amount	of	force	used	as	well	as	the	precise	actions	
                       taken	in	a	particular	incident;	and	
             8.        note	whether	a	use	of	force	was	videotaped.		If	the	use	of	force	is	not	videotaped,	the	reporting	
                       correctional	officer	and	supervisor	will	provide	an	explanation	as	to	why	it	was	not	videotaped.		
A.31.e.	     CCDOC	shall	continue	to	require	prompt	review	by	the	shift	commander	of	all	use	of	force	reports.		The	shift	          x7/12	      x	9/10	               	
   	          commander’s	review	of	use	of	force	reports	shall	include	review	for	completeness	and	procedural	errors,	as	           x2/13	      x	3/11	
   		         well	as	review	of	the	substantive	content.		If	the	use	of	force	report	does	not	comply	with	provision	31.d.	of	       x9/13	      x	8/11	
              this	Agreed	Order,	the	shift	commander	shall	return	it	to	the	reporting	officer	for	revision	and	resubmission	        x3/14	      x12/11	
              until	it	is	compliant.		If	the	shift	commander	believes	a	use	of	force	may	have	been	inappropriate	or	                x9/14	       x3/16	
              excessive,	he	or	she	shall	immediately	refer	the	incident	for	investigation.	                                         x4/15	          	
 A.31.f.		   CCDOC	shall	ensure	that	senior	management	review	of	uses	of	force	includes:		                                         x12/11	      x	9/10	               	
    	        4. a	timely	review	of	medical	documentation	of	inmate	injuries,	if	any	is	submitted,	as	provided	by	Qualified	         x7/12	      x	3/11	
    		           Medical	Staff,	including	documentation	surrounding	the	initial	medical	encounter,	an	anatomical	drawing	           x2/13	      x	8/11	
                 that	depicts	the	areas	of	sustained	injury,	and	information	regarding	any	further	medical	care;				                x9/13	       x3/16	
             5. the	inmate	disciplinary	report,	if	any,	associated	with	the	use	of	force;	and	                                      x3/14	          	


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             6. the	incident	report,	if	any,	associated	with	the	use	of	force.		                                                      x9/14	
                                                                                                                                      x4/15	
A.	31.g.	    CCDOC	[and	Cermak]	shall	establish	criteria	that	trigger	referral	for	inappropriate	or	excessive	use	of	force	          x12/11	      	x	3/11	      x	9/10	
    	        investigations,	including	but	not	limited	to,	documented	or	known	injuries	that	are	extensive	or	serious;	               x7/12	       x	8/ll	      	
    		       injuries	involving	fractures	or	head	trauma;	injuries	of	a	suspicious	nature	(including	black	eyes,	injuries	to	         x2/13	
             the	mouth,	injuries	to	the	genitals,	etc.);	and	injuries	that	require	treatment	at	outside	hospitals.		                 x9/13	
                                                                                                                                      x3/14	
                                                                                                                                      x9/14	
                                                                                                                                      x4/15	
                                                                                                                                      x3/16	
A.	31.	h.	   When	CCDOC	review	of	use	of	force	reports,	and	supporting	records	if	applicable,	reveals	that	reports	of	a	use	         x12/11	      x	9/10	               	
    	        of	force	are	materially	inconsistent,	conflicting,	or	suspicious,	CCDOC	shall	refer	that	use	of	force	incident	for	      x7/12	       x	3/11	
             internal	investigation.	                                                                                                x/2/13	       x	8/11	
                                                                                                                                     x9/13	
                                                                                                                                      x3/14	
                                                                                                                                      x9/14	
                                                                                                                                      x4/15	
                                                                                                                                      x3/16	
 A.31.i.	    CCDOC	shall	develop	and	implement	a	system	to	track	all	incidents	of	use	of	force	that,	at	a	minimum,	                   x7/12	      x	9/10	               	
    		       includes	the	following	information:			                                                                                   x2/13	       x	3/11	
    		       1. a	tracking	number;		                                                                                                 x9/13	       x	8/11	
             2. the	inmate(s)	name;		                                                                                                 x3/14	      x12/11	
             3. housing	assignment;	                                                                                                  x9/14	          	
             4. date;		                                                                                                               x4/15	
             5. type	of	incident;	                                                                                                    x3/16	
             6. injuries	(if	applicable);		                                                                                              	
             7. medical	care	provided	(if	applicable);			
             8. staff	involved;		     	
             9. reviewing	supervisor;		
             10. external	reviews	and	results	(if	applicable);		
             11. remedy	taken	(if	appropriate);	and	
             12. administrative	sign-off.		


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 A.31.j.	   CCDOC	shall	ensure	that,	promptly	following	a	use	of	force	incident,	video	or	photographs	are	taken	of	any	            x12/11	      x	9/10	               	
    		      and	all	reported	or	apparent	injuries	sustained	by	inmates	and	staff.		The	video	or	photographs	will	be	                x7/12	       x	3/11	
    		      maintained	and	will	be	included	in	the	investigation	package,	if	applicable.	See	31.	F.	                                x2/13	       x	8/11	
                                                                                                                                   x9/13	
                                                                                                                                    x3/14	
                                                                                                                                    x9/14	
                                                                                                                                    x4/15	
                                                                                                                                    x3/16	
A.31.k.	    CCDOC	shall	establish	an	“early	warning	system”	that	will	document	and	track	correctional	officers	who	are	             x7/12	      x	9/10	               	
   		       involved	in	use	of	force	incidents	and	any	complaints	related	to	the	inappropriate	or	excessive	use	of	force,	in		      x2/13	       x	3/11	
   		       order	to	alert	CCDOC	administration	to	an	potential	need	for	retraining,	discipline,	problematic	policies,	or	         x9/13	        x	8/11	
            supervision	lapses.		Appropriate	CCDOC	leadership,	supervision,	and	investigative	staff	shall	have	access	to	           x3/14	      x12/11	
            the	information	and	monitor	the	occurrences.	CCDOC	senior	management	shall	use	information	from	the	                    x9/14	
            early	warning	system	to	improve	quality	management	practices,	identify	patterns	and	trends,	and	take	                   x4/15	
            necessary	corrective	action	both	on	an	individual	and	systemic	level.	                                                  x3/16	
 A.31.l.	   CCDOC	shall	ensure	that	a	supervisor	is	present	during	all	pre-planned	uses	of	force,	such	as	cell	extractions.		      x12/11	      x	9/10	               	
    		                                                                                                                              x7/12	       x	3/11	
    		                                                                                                                              x2/13	       x	8/11	
                                                                                                                                   x9/13	
                                                                                                                                    x3/14	
                                                                                                                                    x9/14	
                                                                                                                                    x4/15	
                                                                                                                                    x3/16	
A.31.m.	    Where	there	is	evidence	of	staff	misconduct	related	to	inappropriate	or	unnecessary	use	of	force	against	              x12/11	      x	9/10	               	
   		       inmates,	CCDOC	shall	initiate	personnel	actions	and	seek	disciplinary	action	appropriately	for	any	                     x7/12	       x	3/11	
            correctional	officer	found	to	have:		                                                                                   x2/13	       x	8/11	
            1. engaged	in	inappropriate	or	excessive	use	of	force;		                                                               x9/13	
            2. failed	to	report	or	report	accurately	the	use	of	force;	                                                             x3/14	
            3. retaliated	against	an	inmate	or	other	staff	member	for	reporting	an	inappropriate	or	excessive	use	of	               x9/14	
                force;	or		                                                                                                         x4/15	
            4. interfered	or	failed	to	cooperate	with	an	internal	investigation	regarding	use	of	force	in	a	manner	                 x3/16	
                inconsistent	with	the	staff	member’s	statutory	or	contractual	rights.		
A.31.n.	    Where	there	is	evidence	of	staff	misconduct	related	to	inappropriate	or	unnecessary	use	of	force	against	               x	8/11	     x	9/10	               	

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    	       inmates,	CCDOC	shall	consider,	develop,	and	initiate	systemic	remedies	as	appropriate.	                                 x12/11	       x	3/11	
                                                                                                                                     x7/12	          	
                                                                                                                                     x2/13	
                                                                                                                                     x9/13	
                                                                                                                                     x3/14	
                                                                                                                                     x9/14	
                                                                                                                                     x4/15	
                                                                                                                                     x3/16	
 A.31.o	    CCDOC	shall	maintain	accountability	policies	and	procedures	for	the	effective	and	accurate	maintenance,	inventory,	     x12/11	      x	9/10	               	
    		      and	assignment	of	chemical	and	other	security	equipment,	in	accordance	with	generally	accepted	correctional	             x7/12	       x	3/11	
    		      standards.	                                                                                                              x2/13	       x	8/11	
                                                                                                                                     x9/13	
                                                                                                                                     x3/14	
                                                                                                                                     x9/14	
                                                                                                                                     x4/15	
                                                                                                                                     x3/16	
A.31.p.	    CCDOC	shall	continue	to	conduct	use	of	force	training	in	accordance	with	generally	accepted	correctional	               x12/11	      x	9/10	               	
   	        standards,	including:	                                                                                                   x7/12	       x	3/11	
            1. CCDOC	shall	maintain	an	effective	and	comprehensive	use	of	force	training	program.		                                  x2/13	       x	8/11	
            2. CCDOC	shall	continue	to	ensure	that	correctional	officers	receive	adequate	training	in	CCDOC’s	use	of	                x9/13	
                force	policies	and	procedures,	including	de-escalation	and	defensive	tactics	relating	to	use	of	force.		             x3/14	
            3. CCDOC	shall	continue	to	ensure	that	correctional	officers	receive	pre-service	and	in-service	training	on	             x9/14	
                reporting	use	of	force	and	completing	use	of	force	reports.	                                                         x4/15	
                                                                                                                                     x3/16	
A.31.q.	    CCDOC	shall	provide	a	process	for	inmates	to	report	allegations	of	the	inappropriate	or	excessive	use	of	force	          x9/13	      x	9/10	               	
   	        orally	to	any	CCDOC	staff	member;	said	staff	member	shall	give	the	inmate	the	opportunity	to	reduce	his	or	              x3/14	       x	3/11		
            her	report	to	writing	through	a	grievance	or	complaint	form	without	discouragement.	                                     x9/14	       x	8/11	
                                                                                                                                     x4/15	      x12/11	
                                                                                                                                     x3/16	       x7/12	
                                                                                                                                                  x2/13	
 A.31.r.	   Following	a	use	of	force,	when	CCDOC	staff	transport	an	inmate	to	receive	medical	care	by	Cermak,	as	                   x	8/11	      X	9/10	               	
    		      necessary,	the	CCDOC	staff	member	shall	inform	the	Cermak	staff	member	that	the	inmate	was	involved	in	a	               x12/11	       x	3/11	
    		      use	of	force.		                                                                                                          x7/12	
                                                                                                                                     x2/13	

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                                                                                                                                   x9/13	
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                                                                                                                                   x4/15	
                                                                                                                                   x3/16	
 A.31.s.	   Cermak	shall	ensure	that,	when	providing	medical	treatment	or	assessment	to	an	inmate	following	a	use	of	             x	8/11	      x	9/10	               	
    	       force,	Qualified	Medical	Staff	document	the	inmate’s	injuries,	if	any,	and	any	medical	care	provided.		Cermak	        x12/11	       x	3/11	
            shall	provide	CCDOC	senior	management	[OPR]	with	a	brief	summary	documenting	the	initial	medical	                      x7/12	
            encounter	following	a	use	of	force,	including	an	anatomical	drawing	that	depicts	the	areas	of	sustained	injury,	       x2/13	
            if	any,	and	information	regarding	any	further	medical	care.					See	31.f.	                                             x9/13	
                                                                                                                                   x3/14	
                                                                                                                                   x9/14	
                                                                                                                                   x4/15	
                                                                                                                                   x3/16	
 A.31.t.	   Cermak	shall	ensure	that	Qualified	Medical	Staff	question,	outside	the	hearing	of	other	inmates	or	                   x	8/11	      x	3/11	       x	9/10	
    	       correctional	officers	if	appropriate,	each	inmate	who	reports	for	medical	care	with	an	injury,	regarding	the	         x12/11	                        		
            cause	of	the	injury.		If,	in	the	course	of	the	inmate’s	medical	encounter,	a	health	care	provider	suspects	staff-      x7/12	
            on-inmate	or	inmate-on-inmate	abuse,	that	health	care	provider	shall	immediately:	                                     x2/13	
            1. report	the	suspected	abuse	to	the	Executive	Director	of	the	Office	of	Professional	Review	or	other	                 x9/13	
                appropriate	CCDOC	administrator;	and	                                                                              x3/14	
            2. adequately	document	the	matter	in	the	inmate’s	medical	record.		                                                    x9/14	
                                                                                                                                   x9/14	
                                                                                                                                   x4/15	
                                                                                                                                   x3/16	
  32.	      Safety	and	Supervision	
 (23)	      	
 32.	a.	    CCDOC	shall	maintain	security	and	control-related	policies,	procedures,	and	practices	that	will	result	in	a	            x2/13	     x	9/10	               	
   	        reasonably	safe	and	secure	environment	for	all	inmates	and	staff,	in	accordance	with	generally	accepted	                x9/13	      x	3/11	
            correctional	standards.	                                                                                                x3/14	      x	8/11	
            Coordinate	with	Grenawitzke	                                                                                            x9/14	     x12/11	
                                                                                                                                    x4/15	      x7/12	
                                                                                                                                    x3/16	
 32.b.	     CCDOC	shall	maintain	policies,	procedures,	and	practices	to	ensure	the	adequate	supervision	of	inmate	work	             x7/12	     x	8/11	       x	9/10	


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   	       areas	and	trustees,	in	accordance	with	generally	accepted	correctional	standards.	                                   x	2/13	     x12/11	        x	3/11	
           Coordinate	with	Grenawitzke	                                                                                         x9/13	
                                                                                                                                x3/14	
                                                                                                                                x9/14	
                                                                                                                                x4/15	
                                                                                                                                x3/16	
 32.c.	    CCDOC	shall	ensure	that	security	staff	conduct	appropriate	rounds	with	sufficient	frequency	to	provide	              x2/13	      x	9/10	               	
   		      inmates	with	reasonable	safety.		Rounds	shall	be	conducted	at	least	once	every	half	hour,	at	irregular	              x9/13	       x	3/11	
   		      intervals,	inside	each	housing	unit.			In	the	alternative,	CCDOC	may	provide	direct	supervision	of	inmates	by	       x3/14	      X	8/11	
   	       posting	a	correctional	officer	inside	the	day	room	area	of	a	housing	unit	to	conduct	constant	surveillance.			       x9/14	      x12/11	
           More	frequent	rounds	shall	be	conducted	for	special	management	inmates	who	require	more	intensive	                   x4/15	       x7/12	
           supervision	for	security	and	safety	reasons.		All	security	rounds	shall	be	documented	on	forms	or	logs	that	do	      x3/16	
           not	contain	pre-printed	rounding	times.		Video	surveillance	may	be	used	to	supplement,	but	must	not	be	used	
           to	replace,	rounds	by	correctional	officers.		
 32.d.	    CCDOC	shall	ensure	that	security	supervisors	conduct	daily	rounds	in	the	inmate	housing	units,	and	                 x2/13	       x	3/11	       x	9/10	
   	       document	the	results	of	their	inspections.	                                                                         x9/13	       x	8/11	           		
                                                                                                                               x3/14	       x12/11	
                                                                                                                               x9/14	       x7/12	
                                                                                                                               x4/15x	      	
                                                                                                                                3/16	
 32.e.	    Cook	County	shall	increase	the	use	of	overhead	video	surveillance	and	recording	cameras	to	provide	                 x9/13	       x	9/10	               	
   	       adequate	coverage	throughout	the	common	areas	of	the	Facility,	including	the	RCDC,	all	division	intake	areas,	      x3/14	        x	3/11	
           mental	health	units,	special	management	units,	inmate	housing	units,	and	in	common	areas	of	the	divisions.	         x9/14	        x	8/11	
                                                                                                                               x4/15	       x12/11	
                                                                                                                               x3/16	        x7/12	
                                                                                                                                             x2/13	
                                                                                                                                                	
 32.f.	    CCDOC	shall	maintain	a	procedure	to	prevent	inmates	from	possessing	or	having	access	to	dangerous	                    x2/13	     x	9/10	               	
   	       contraband,	including	conducting	regular	inspections	of	cells	and	common	areas	of	the	housing	units	to	               x9/13	      x	3/11	
           identify	and	prevent	rule	violations	by	inmates.	                                                                     x3/14	      x	8/11	
                                                                                                                                 x9/14	     x12/11	
                                                                                                                                 x4/15	      x7/12	
                                                                                                                                 x3/16	


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 32.g.	    CCDOC	shall	review,	and	revise	as	applicable,	all	General	Orders	(“GOs”),	Standard	Operating	Procedures	                 x	8/11	      x	9/10	               	
   	       (“SOPs”),	and	Post	Orders	on	an	annual	basis,	or	more	frequently	as	needed.	                                             x12/11	       x	3/11	
                                                                                                                                     x7/12	
                                                                                                                                     x2/13	
                                                                                                                                     x9/13	
                                                                                                                                     x3/14	
                                                                                                                                     x9/14	
                                                                                                                                     x4/15	
                                                                                                                                     x3/16	
 32.h.	    CCDOC	shall	revise	policies,	SOPs,	and	post	orders	for	all	armed	posts	to	include	proper	use	and	safe	handling	          x12/11	      x	9/10	               	
   	       of	weapons	and	provide	specific	instructions	on	use	of	deadly	force	and	when	and	under	what	circumstances	                x7/12	       x	3/11	
           such	force	should	be	used,	in	accordance	with	generally	accepted	correctional	standards.	                                 x2/13	      x/8/11	
                                                                                                                                     x9/13	
                                                                                                                                     x3/14	
                                                                                                                                     x9/14	
                                                                                                                                     x4/15	
                                                                                                                                     x3/16	
  32.i.	   CCDOC	shall	standardize	security	policies,	procedures,	staffing	reports,	and	post	analysis	reports	across	the	            x2/13	      x	9/10	               	
    		     divisions,	to	the	extent	possible,	taking	into	account	the	different	security	levels	and	different	physical	layouts	      x9/13		      x	3/11	
    		     in	the	various	divisions.	                                                                                                x3/14	       x	8/11	
                                                                                                                                     x9/14	      x12/11	
                                                                                                                                     x4/15	       x7/12	
                                                                                                                                     x3/16	
  32.j.	   CCDOC	shall	provide	formal	training	on	division-specific	SOPs	to	correctional	officers	in	accordance	with	their	          x7/12	      x	9/10	               	
    		     assignments,	and	shall	provide	further	specialized	training	for	officers	assigned	to	Special	Management	Units.		          x2/13	       x	3/11	
    			    Cermak	Hospital	shall	provide	Specialized	training	for	officers	assigned	to	psychiatric	units.		                          x9/13	       x	8/11	
           Coordinate	with	medical	monitor	and	Dr.	Metzner.		See	also	44.f.,	44.g.,	44.h.,	46.b.,	46.e.,	68.	                        x3/14	      x12/11	
                                                                                                                                     x9/14	
                                                                                                                                     x4/15	
                                                                                                                                     x3/16	
 32.k.	    CCDOC	shall	maintain	in	working	order	all	monitoring	equipment	at	the	Facility	that	is	under	CCDOC’s	direct	              x7/12	      x	9/10	               	
   	       control,	including	cameras,	alarms,	radios	(hand	held),	interior	and	exterior	lighting,	x-ray	and	other	                  x2/13	      x	3/11	
           screening	equipment,	and	walk-through	metal	detectors.		To	the	extent	that	the	maintenance	of	any	Facility	               x9/13	      x	8/11	
                                                                                                                                     x3/14	      x12/11		

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             monitoring	equipment	is	under	the	control	of	DFM,	CCDOC	shall	promptly	report	any	maintenance	needs	and	                 x9/14	
             DFM	shall	prioritize	its	services	to	ensure	that	all	monitoring	equipment	is	maintained	in	working	order.	               x4/15	
             Coordinate	with	Grenawitzke	                                                                                             x3/16	
  32.l.	     Absent	exigent	circumstances,	CCDOC:		(i)	shall	house	each	inmate	assigned	to	a	division	that	is	celled	to	one	        x	8/1111	              	             	
    		       permanent	bed	in	a	cell	and	shall	not	house	any	inmates	(including	those	assigned	to	dormitory	divisions)	              x12/11	
    		       such	that	they	are	sleeping	on	the	floor,	on	a	mattress	on	the	floor,	or	in	any	area	not	designed	or	redesigned	         x7/12	
             as	sleeping	quarters;	(ii)	shall	not	house	more	than	two	inmates	to	a	single	cell	(triple-bunking);	and	(iii)	shall	     x2/13	
             not	hot-bunk	any	inmates.	                                                                                               x9/13	
                                                                                                                                     	x3/14	
                                                                                                                                      x9/14	
                                                                                                                                      x4/15	
                                                                                                                                      x3/16	
 32.m.	      When	exigent	circumstances	give	rise	to	triple-bunking,	CCDOC	shall	provide	the	third	inmate	in	the	triple-            x	8/1112	              	             	
   		        bunked	cell	a	“boat,”	stackable	bunk,	moveable	platform,	or	cot,	so	that	the	inmate	is	not	required	to	lay	down	        x12/11	
   		        directly	on	the	cell	floor	or	on	a	mattress	on	the	floor.	                                                               x7/12	
                                                                                                                                      x2/13	
                                                                                                                                      x9/13	
                                                                                                                                      x3/14	
                                                                                                                                      x9/14	
                                                                                                                                      x4/15	
                                                                                                                                      x3/16	
  33.	                                                                         Security	Staffing.	
                   The	parties	agree	that	correctional	officer	staffing	and	supervision	levels	at	the	Facility	must	be	appropriate	to	adequately	
              supervise	inmates,	to	carry	out	the	requirements	of	this	Agreed	Order,	and	to	allow	for	the	safe	operation	of	the	Facility,	consistent	
               with	generally	accepted	correctional	standards.		Cook	County	and	CCDOC	shall	take	such	actions	as	shall	ensure	that	correctional	
               officer	staffing	and	supervision	at	the	Facility	are	sufficient	to	achieve	these	purposes.	These	actions	shall	include	the	following:	
 33.a.	      In	the	fiscal	year	2010	budget,	Cook	County	shall	allocate	funds	sufficient	to	allow	for	210	additional	            x	8/11	 x	9/10	  	
 	(25)	      correctional	officer	positions	at	the	Facility.		Consistent	with	provision	33.c,	such	funding	may	occur	on	a	       x12/11	 x	3/11	
    		       rolling	basis,	as	appropriate	in	light	of	the	time	required	to	hire,	train,	and	put	on	duty	the	additional	210	new	  x7/12	

   																																																								
   11	Noted	as	“NA”	in	first	two	reports.	
   12	Noted	as	“NA”	in	first	two	reports.	


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             correctional	officers.	                                                                                                  x2/13	
                                                                                                                                      x9/13	
                                                                                                                                      x3/14	
                                                                                                                                      x9/14	
                                                                                                                                      x4/15	
                                                                                                                                      x3/16	
 33.b.	      CCDOC	shall	use	its	best	efforts	(through	the	maintenance	of	the	written	staffing	plan	required	by	provision	            X9/14	      x	9/10	               	
 	(25)	      33.h	and	otherwise)	to	ensure	that	the	number	of	correctional	officer	vacancies	is	kept	to	the	minimum	                  x4/15	       x	3/11	
    		       practicable	number	at	all	times,	taking	into	account	that	the	timing	of	terminations	and	resignations	and	the	           x3/16	       x	8/11	
             resulting	rate	of	attrition	may,	in	ordinary	course,	result	in	there	being	some	vacancies	at	any	given	time.	                        x12/11	
                                                                                                                                                   x7/12	
                                                                                                                                                   x2/13	
                                                                                                                                                   x9/13	
                                                                                                                                                   x3/14	
33.c.i.ii	   CCDOC	shall	fill	the	210	additional	correctional	officer	slots	provided	for	in	provision	33.a;	fill	the	285	            x	8/11	          	          x	9/10	
 	(26)	      correctional	officer	vacancies	that	existed	at	the	Facility	as	of	July	17,	2009;	and	fill	any	correctional	officer	     x12/11	                     x	3/11	
    		       vacancies	coming	into	existence	after	that	date	in	the	following	manner:	                                                x7/12	
                 i. By	December	31,	2010,	CCDOC	shall	hire,	train,	and	put	on	duty	at	the	Facility	at	least	448	[381]	                x2/13	
                 newly	qualified	correctional	officers	(in	addition	to	those	on	duty	as	of	December	31,	2009).	                       x9/13	
                 ii. By	March	30,	2011,	CCDOC	shall	hire,	train,	and	put	on	duty	at	the	Facility	at	least	174	[107]	newly	            x3/14	
                 qualified	correctional	officers	(in	addition	to	those	on	duty	as	of	December	31,	2010).	                             x9/14	
                                                                                                                                      x4/15	
                                                                                                                                      x3/16	
 33.d.	      The	parties	agree	that	for	30	months	following	the	effective	date	of	this	Agreed	Order,	Cook	County	and	                x9/14	         x2/13	              	
 	(26)	      CCDOC	shall	not	be	required	to	provide	additional	correctional	officer	staffing	and	supervision	at	the	Facility	         x4/15	        x9/13	
    		       beyond	that	which	is	necessary	to	ensure	that	correctional	officer	staffing	and	supervision	are	sufficient	to	           x3/16	        x3/14	
             achieve	the	purposes	set	out	in	the	introductory	paragraph	of	provision	33	and	to	comply	with	provisions	                              x9/14	
             33.a-c	above.		Due	date	11/13/2012	
 33.e.	      Within	30	months	of	the	effective	date	of	this	Agreed	Order,	the	CCDOC	Monitor	shall	assess	and	make	a	                  X9/14	        x2/13	              	
 	(27)	      recommendation	on	whether	the	correctional	officer	staffing	and	supervision	levels	are	appropriate	to	                   x4/15	        x9/13	
    		       adequately	supervise	inmates	at	the	Facility,	in	accordance	with	generally	accepted	correctional	standards.		If	         x3/16	        x3/14	
             the	CCDOC	Monitor	determines	that	staffing	is	inadequate,	the	CCDOC	Monitor	will	make	a	recommendation	                  x3/16	        x9/14	
             regarding	the	appropriate	number	of	correctional	officer	staff.		If	the	parties	do	not	accept	the	CCDOC	


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               Monitor’s	staffing	recommendation,	CCDOC	and	Cook	County	shall	agree	to	an	independent,	comprehensive	
               study	to	determine	the	appropriate	correctional	officer	staffing	and	supervision.		The	parties	agree	that	the	
               results	of	this	staffing	study	shall	provide	guidance	as	to	the	sufficient	number	of	qualified	correctional	
               officers	necessary	to	operate	the	Facility	safely	and	to	carry	out	the	requirements	of	this	Agreed	Order.		Due	
               date	11/13/2012	
  33.f.	       If	the	staffing	study	requires	additional	correctional	officers,	Cook	County	shall	allocate	funds	sufficient	to	        x9/14	        x2/13	              	
 	(27)	        maintain	correctional	officer	staffing	levels	necessary	to	carry	out	the	requirements	of	this	Agreed	Order	and	         x4/15	        x9/13	
    		         to	allow	for	the	safe	operation	of	the	Facility,	consistent	with	generally	accepted	correctional	standards.		Due	       x3/16	        x3/14	
               date	11/13/2012	                                                                                                                         		
 33.g.	        If	the	staffing	study	requires	additional	correctional	officers,	and	consistent	with	Cook	County’s	allocation	of	       x9/14	        x2/13	              	
 	(28)	        funds	for	security	staffing,	CCDOC	shall	hire	and	train	sufficient	number	of	qualified	correctional	officers	and	       x4/15	        x9/13	
    		         other	staff	to	carry	out	the	requirements	of	this	Agreed	Order	and	to	allow	for	the	safe	operation	of	the	              x3/16	        x3/14	
               Facility,	consistent	with	generally	accepted	correctional	standards,	including:	                                                         		
                    1. Investigative	staffing	sufficient	to	meet	the	internal	investigation	responsibilities	outlined	in	this	
                        Agreed	Order;		
                    2. Correctional	officer	staffing	sufficient	to	provide	inmates	requiring	treatment	with	adequate	access	to	
                        appropriate	medical	and	mental	health	care	by	providing	timely	movement	of	inmates	to	medical	
                        units,	transport	of	inmates	who	have	been	referred	for	outside	specialty	care,	and	escort,	if	necessary,	
                        to	Qualified	Medical	and	Mental	Health	Staff	on	housing	units;	and				[Coordinate	with	medical	
                        monitor	and		Dr.	Metzner]	
                    3. Qualified	staff	sufficient	to	monitor	security	cameras	in	real	time	and	allow	for	supervisory	viewing	
                        and	retrieving	at	any	time.		Due	date	11/13/2012	
 33.h.	        CCDOC	shall	maintain	a	written	staffing	plan	that	requires	sufficient	staffing	to	carry	out	the	requirements	of	        x9/14	      x	8/11	       x	9/10	
 	(28)	        this	Agreed	Order	and	to	allow	for	the	safe	operation	of	the	Facility,	consistent	with	generally	accepted	              x4/15	      x12/11        x	3/11	
    		         correctional	standards.		                                                                                               x3/16	       x7/12	
                                                                                                                                                    x2/13	
                                                                                                                                                    x9/13	
                                                                                                                                                    x3/14	
                                                                                                                                                       		
  33.i.	       Absent	exigent	circumstances,	CCDOC	shall	maintain	a	practice	that	does	not	allow	for	scheduled,	planned,	or	        x	8/1113	          	                 		
   																																																								
   13	Noted	as	“NA”	in	first	two	reports.	


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 	(28)	        expected	cross-watching	(a	CCDOC	practice	of	allowing	one	correctional	officer	to	simultaneously	supervise	        x12/11	
    		         two	housing	units	from	the	control	center	of	one	of	the	units)	at	any	time	on	all	maximum	security	and	             x7/12	
               Special	Management	Units,	and	during	first	and	second	shifts	throughout	the	Facility.	                              x2/13	
                                                                                                                                   x9/13	
                                                                                                                                   x3/14	
                                                                                                                                   x9/14	
                                                                                                                                   x4/15	
                                                                                                                                   x3/16	
  33.j.	       CCDOC	may	permit	cross-watching	on	third	shift	in	housing	units	that	are	not	maximum	security	or	Special	         x	8/1114	              	             			
 	(28)	        Management	Units	only	if	the	Monitor	does	not	object	after	consultation	and	review.		The	Monitor’s	review	of	      x12/11	
    		         the	appropriateness	of	third-shift	cross-watching	on	a	particular	housing	unit	shall	be	guided	by	the	              x7/12	
               sufficiency	of	sightlines	between	the	units	being	cross-watched,	the	adequacy	of	video	and/or	audio	                x2/13	
               technologies	in	place,	and/or	other	factors	that	bear	on	the	safety	and	security	of	inmates	and	staff.		If	the	     x9/13	
               Monitor	later	objects	to	any	cross-watching	that	is	in	effect	because	of	the	Monitor’s	concerns	that	cross-         x3/14	
               watching	on	a	particular	housing	unit	presents	an	undue	risk	to	the	safety	and	security	of	inmates	and	staff,	      x9/14	
               CCDOC	shall	immediately	cease	such	cross-watching.		CCDOC	may	renew	cross-watching	on	that	unit	again	if,	          x4/15	
               after	further	consultation	with	and	review	by	the	Monitor,	the	Monitor	does	not	object	to	such	renewal.		           x3/16	
               Although	cross-watching	is	permitted	under	the	limited	circumstances	described	herein,	CCDOC	will	work	to	
               eliminate	the	practice	at	the	Facility.	
  34.	         Incidents	and	Referrals	
 (29)	                                                                                   	
 34.	a.		      CCDOC	shall	continue	to	ensure	that	staff	adequately	and	promptly	document	all	reportable	incidents,	                x2/13	      x	9/10	               	
   		          including	inmate	fights,	rule	violations,	inmate	injuries,	suicides	and	suicide	attempts,	cell	extractions,	         x9/13	      x	3/11	
   		          medical	emergencies,	contraband,	vandalism,	escapes	and	escape	attempts,	fires,	and	other	incidents	causing	         x3/14	      x	8/11	
               a	disruption	to	standard	CCDOC	practice,	in	accordance	with	generally	accepted	correctional	standards.	              x9/14	      x12/11	
                                                                                                                                    x4/15	       x7/12	
                                                                                                                                    x3/16	
 34.b.	        CCDOC	shall	continue	to	ensure	that	correctional	officers	receive	pre-service	and	in-service	training	on	           x	8/11	      x	9/10	               	
   		          proper	incident	reporting	policies	and	procedures	in	accordance	with	generally	accepted	correctional	               x12/11	      x	3/11	
   		          standards.	                                                                                                          x7/12	          	
                                                                                                                                    x2/13	
   																																																								
   14	Noted	as	“NA”	in	first	two	reports.	


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 34.c.	    CCDOC	shall	maintain	a	system	to	track	all	reportable	incidents	(as	described	in	provision	34.a)	that,	at	a	              x2/13	     x	9/10	               	
   	       minimum,	includes	the	following	information:			                                                                           x9/13	     x	3/11	
            1. incident	tracking	number;		                                                                                           x3/14	     x	8/11	
            2. the	inmate(s)	name;		                                                                                                 x9/14	     x12/11	
            3. housing	assignment;	                                                                                                  x4/15	      x7/12	
            4. date;		                                                                                                               x3/16	
            5. type	of	incident;	
            6. injuries	(if	applicable);		
            7. medical	care	(if	applicable);		
            8. primary	and	secondary	staff	involved;		
            9. reviewing	supervisor;		
            10. external	reviews	and	results	(if	applicable);	
            11. remedy	taken	(if	appropriate);	and	
            12. administrative	sign-off.		
 34.d.	    CCDOC	shall	require	prompt	administrative	review	of	incident	reports.		Such	reviews	shall	include	a	case-by-            x	8/11	      x	9/10	               	
   	       case	review	of	individual	incidents	as	well	as	a	systemic	review	in	order	to	identify	patterns	of	incidents.		          x12/11	      x	3/11	
           CCDOC	shall	incorporate	such	information	into	quality	management	practices	and	take	necessary	corrective	                x7/12	       x3/16	
           action.	                                                                                                                 x2/13	
                                                                                                                                    x9/13	
                                                                                                                                    x3/14	
                                                                                                                                    x9/14	
                                                                                                                                    x4/15	
                                                                                                                                       	
 34.e.	    CCDOC	shall	ensure	that	incident	reports,	use	of	force	reports	and	inmate	grievances	are	screened	for	                   x9/13	      x	9/10	               	
   	       allegations	of	staff	misconduct	and,	if	the	incident	or	allegation	meets	established	criteria,	that	it	is	referred	      x3/14	      x	3/11	
           for	investigation.	                                                                                                      x9/14	      x	8/11	
                                                                                                                                    x4/15	      x12/11	
                                                                                                                                    x3/16	       x7/12	

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 34.f.	    CCDOC	shall	maintain	policies,	procedures	and	practices	requiring	investigations	to	resolve	issues	identified	        x9/13	     x	9/10	               	
   		      during	review	of	incident	reports,	disciplinary	hearings,	or	inmate	grievances,	and	determine	appropriate	            x3/14	     x	3/11	
   		      remedies,	in	accordance	with	generally	accepted	correctional	standards.		At	a	minimum,	CCDOC	shall	require	           x9/14	     x	8/11	
           timely	and	appropriate	investigations	of	all	suicides,	serious	suicide	attempts,	inmate-on-inmate	violence	           x4/15	     x12/11	
           resulting	in	serious	injury,	inmate-on-staff	violence,	inmate	injuries	requiring	treatment	by	an	outside	                	        x7/12	
           hospital,	inmate	injuries	of	a	suspicious	nature	(including	black	eyes,	injuries	to	the	mouth,	injuries	to	the	                   x2/13	
           genitals,	etc.),	sexual	misconduct	between	inmates,	sexual	misconduct	involving	staff,	fires,	escapes,	escape	                    x3/16	
           attempts,	and	deaths.	                                                                                                               	
 34.g.	    CCDOC	(OPR)	shall	ensure	that	any	investigation	reports	indicating	possible	criminal	behavior	will	be	              x	8/11	      x	9/10	               	
   		      referred	to	the	appropriate	law	enforcement	authority.	                                                             x12/11	      x	3/11	
   		                                                                                                                           x7/12	
                                                                                                                                x2/13	
                                                                                                                                x9/13	
                                                                                                                                x3/14	
                                                                                                                                x9/14	
                                                                                                                                x4/15	
                                                                                                                                x3/16	
  35.	                                                                     Investigations:	
 (30)	     Investigations	at	the	Facility	are	conducted	by	independent	departments	under	the	Cook	County	Sheriff’s	Office,	including	the	Office	
            of	Professional	Review,	the	Criminal	Investigations	Unit,	and	the	Sheriff’s	Police	Department.		The	Cook	County	Sheriff	will	assume	
                      responsibility	for	requiring	these	investigatory	units	to	comply	with	the	relevant	provisions	of	this	Agreed	Order.	
 35.a.	    CCDOC	[OPR]	shall	maintain	comprehensive	policies,	procedures,	and	practices	for	the	timely	and	thorough	     x2/13	   x	9/10	    	
   	       investigation	of	alleged	staff	misconduct,	in	accordance	with	generally	accepted	correctional	standards.	     x9/13	   x	3/11	
                                                                                                                         x3/14	   x	8/11	
                                                                                                                         x9/14	   x12/11	
                                                                                                                         x4/15	    x	7/12	
                                                                                                                         x3/16	
 35.b.	    Internal	investigations	[OPR]	shall	be	conducted	by	persons	who	do	not	have	supervisory	responsibility	for	   x	7/12	  x	9/10	    	
   		      the	staff	member(s)	being	investigated.	                                                                      x2/13	   x	3/11	
   		                                                                                                                    x9/13	   x	8/11	
                                                                                                                         x3/14	   x12/11	
                                                                                                                         x9/14	


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 35.c.	    CCDOC	[OPR]	shall	ensure	that	all	internal	investigations	will	include	timely,	thorough,	and	documented	            x	9/10	              		            	
   		      interviews	of	all	relevant	staff	and	inmates	who	were	involved	in,	or	witnessed,	the	incident	in	question.		        x	3/11	
   		                                                                                                                          x	8/11	
                                                                                                                               x12/11	
                                                                                                                               x	7/12	
                                                                                                                                x2/13	
                                                                                                                                x9/13	
                                                                                                                                x3/14	
                                                                                                                                x9/14	
                                                                                                                                x4/15	
                                                                                                                                x3/16	
 35.d.	    CCDOC	[OPR]		shall	ensure	that	internal	investigation	reports	shall	include	all	supporting	evidence,	including	     x	9/10	              		            	
   		      witness	and	participant	statements,	policies	and	procedures	relevant	to	the	incident,	physical	evidence,	video	     x	3/11	
   		      or	audio	recordings,	and	relevant	logs.	                                                                            x	8/11	
                                                                                                                               x12/11	
                                                                                                                               x	7/12	
                                                                                                                                x2/13	
                                                                                                                                x9/13	
                                                                                                                                x3/14	
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                                                                                                                                x4/15	
                                                                                                                                x3/16	
 35.e.	    CCDOC	[OPR]		shall	ensure	that	all	investigatory	staff	will	receive	pre-service	and	in-service	training	on	          x7/12	      x	9/10	               	
   	       appropriate	investigations	policies	and	procedures,	the	investigations	tracking	process,	investigatory	              x2/13	      x	3/11	
           interviewing	techniques,	and	confidentiality	requirements.	                                                          x9/13	      x	8/11	
                                                                                                                                x3/14	      x12/11	
                                                                                                                                x9/14	
                                                                                                                                x4/15	
                                                                                                                                x3/16	
 35.f.	    CCDOC	[OPR]	shall	provide	all	investigators	who	will	be	assigned	to	conduct	investigations	of	use	of	force	          x7/12	      x	9/10	               	
   			     incidents	with	specialized	training	in	investigating	use	of	force	incidents	and	allegations.	                        x2/13	      x	3/11	


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 35.g.	    CCDOC	[OPR]	shall	ensure	that	the	results	of	each	internal	investigation	shall	be	documented	in	an	                 x7/12	      x	9/10	               	
   		      investigation	report.		CCDOC	administration	shall	review	the	investigation	reports,	along	with	the	underlying	      x2/13	      x	3/11	
   		      documentation,	and	take	appropriate	action.		CCDOC	shall	implement	appropriate	remedies	based	upon	the	             x9/13	      x	8/11	
           results	of	internal	investigations.		                                                                               x3/14	      x12/11	
           	                                                                                                                   x9/14	
                                                                                                                               x4/15	
                                                                                                                               x3/16	
  36.	     Inmate	Disciplinary	Process	
 (31)	                                                                               	
 36.a.	    CCDOC	shall	maintain	policies,	procedures,	and	practices	for	a	formal	disciplinary	process,	including	prompt	       x7/12	      x	9/10	               	
   	       issuance	of	written	disciplinary	citations,	administrative	review	and	disciplinary	reports	for	alleged	minor	       x2/13	      x	3/11	
           rule	violations,	and	due	process	for	alleged	major	rules	violations,	in	accordance	with	generally	accepted	         x9/13	      x	8/11	
           correctional	standards.	                                                                                            x3/14	      x12/11	
                                                                                                                               x9/14	
                                                                                                                               x4/15	
                                                                                                                               x3/16	
 36.b.	    CCDOC	shall	ensure	that	inmate	disciplinary	hearings	are	conducted	in	a	reasonably	private	and	secure	             x	8/11	      x	9/10	               	
   	       setting.	                                                                                                          x12/11	      x	3/11	
                                                                                                                               x7/12	
                                                                                                                               x2/13	
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 36.c.	    CCDOC	shall	ensure	that	all	inmates	places	in	lock	down	status	are	provided	with	appropriate	due	process	            x7/12	     x	9/10	               	
   		      that	has	been	developed	and	implemented	in	policies	and	procedures,	in	accordance	with	generally	accepted	           x2/13	     x	3/11	
   		      correctional	standards.			                                                                                           x9/13	     x	8/11	
           	                                                                                                                    x3/14	     x12/11	
           In	an	emergency,	the	Executive	Director	of	CCDOC	may	order	a	lock	down	of	entire	areas	of	the	Facility	in	           x9/14	
           order	to	control	the	situation	and	address	serious	security	concerns.		In	such	circumstances,	it	is	not	             x4/15	
           necessary	to	provide	disciplinary	hearings	to	each	inmate	affected	by	the	lock	down.		However,	lock	downs	of	        x3/16	
           this	nature	shall	be	limited	to	only	the	time	and	scope	necessary	to	address	the	emergency.	                            	
           	
           For	the	purposes	of	this	Agreed	Order,	a	“lock	down”	shall	not	include	the	routine	instances	in	which	inmates	
           are	confined	to	their	cells,	including	periods	of	count,	over	night,	shift	change,	movement,	and	routine	
           contraband	sweeps.	


 36.d.	    CCDOC	shall	ensure	that	the	disciplinary	board’s	written	record	accurately	reflects	the	testimony	and	              x7/12	      x	3/11	         x9/10	
   		      discussion	from	the	disciplinary	hearing,	including	any	recommendations	from	a	mental	health	professional	          x2/13	      x	8/11	            	
   		      regarding	the	extent	to	which	disciplinary	charges	are	related	to	an	inmate’s	serious	mental	illness	or	            x9/13	      x12/11	
           suggestions	for	minimizing	the	deleterious	effect	of	disciplinary	measure	on	the	mental	health	status	of	the	       x3/14	
           inmate.		                                                                                                           x9/14	
                                                                                                                               x4/15	
                                                                                                                               x3/16	
 36.e.	    CCDOC	shall	alert	Cermak	when	inmates	are	placed	in	disciplinary	segregation	or	protective	custody.		               x7/12	      x	9/10	               	
   		                                                                                                                          x2/13	      x	3/11	
   		                                                                                                                          x9/13	      x	8/11	
                                                                                                                               x3/14	      x12/11	
                                                                                                                               x9/14	
                                                                                                                               x4/15	
                                                                                                                               x3/16	
 36.f.	    CCDOC	shall	permit	a	Cermak	Qualified	Mental	Health	Staff	member	to	serve	on	the	disciplinary	board.	              x12/11	      x	3/11	        x	9/10	
   		                                                                                                                          x7/12	      x	8/11	           	
   		                                                                                                                          x2/13	
                                                                                                                               x9/13	
                                                                                                                               x3/14	


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  37.	     Classification	
                                                                                    	
 37.a.	    CCDOC	shall	maintain	policies	and	procedures	for	an	appropriate,	objective	classification	system	that	               x9/14	       x	9/10	                	
 	(32)	    separates	inmates	in	housing	units	by	classification	levels	in	order	to	protect	inmates	from	unreasonable	risk	      x4/15	        x	3/11	
    		     of	harm.		The	system	shall	include	consideration	of	an	inmate’s	security	level,	severity	of	current	charge,	         x3/16	        x	8/11	
           types	of	prior	commitments,	suicide	risk,	history	of	escape	attempts,	history	of	violence,	and	special	needs.		                    x12/11	
           CCDOC	shall	use	best	efforts	to	anticipate	periods	of	unusual	intake	volume	and	schedule	sufficient	                                x7/12	
           classification	staff	to	timely	classify	inmates.	                                                                                   x2/13	
                                                                                                                                               x9/13	
                                                                                                                                               x3/14	
 37.b.	    CCDOC	shall	ensure	that	classification	staff	have	sufficient	access	to	current	information	regarding	cell	           x9/14	       x	9/10	                	
 	(32)	    availability	on	each	division.	                                                                                      x4/15	        x	3/11	
    		                                                                                                                          x3/16	        x	8/11	
                                                                                                                                   	          x12/11	
                                                                                                                                               x7/12	
                                                                                                                                               x2/13	
                                                                                                                                               x9/13	
                                                                                                                                               x3/14	
 37.c.	    CCDOC	shall	include	information	on	each	inmate’s	assignment	to	the	Special	Incarceration	Unit	“level	system”	       x	9/10	            		                	
 	(33)	    at	the	Facility	in	the	new	Jail	Management	System,	starting	with	the	date	the	new	Jail	Management	System	           x	3/11	
           becomes	operational.	                                                                                               x	8/11	
                                                                                                                               x12/11	
                                                                                                                                x7/12	
                                                                                                                                x2/13	
                                                                                                                                x9/13	
                                                                                                                                x3/14	
                                                                                                                                x9/14	
                                                                                                                                x4/15	
                                                                                                                                x3/16	
 37.d.	    CCDOC	shall	provide	training	and	access	to	all	correctional	officer	supervisors	on	the	full	capabilities	of	the	     x2/13	       x	9/10	                	


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 	(33)	    new	Jail	Management	System’s	classification	and	inmate	tracking	system	(or	any	replacement	system).	                 x9/13	       x	3/11	
    		                                                                                                                          x3/14	       x	8/11	
                                                                                                                                x9/14	       x12/11	
                                                                                                                                x4/15	       x7/12	
                                                                                                                                x3/16	
 37.e.	    CCDOC	shall	provide	ongoing	internal	and	external	review	and	validation	of	the	inmate	classification	system	         x3/14	        x7/12	       x	9/10	
 	(33)	    to	ensure	its	reliability	and	objectivity.	                                                                          x9/14	        x2/13	       x	3/11	
    		     	                                                                                                                    x4/15	        x9/13	       x	8/11	
                                                                                                                                x3/16	           	         x12/11	
  38.	     Inmate	Grievance	Procedure	
 (33)	                                                                              	
 38.a.	    CCDOC	shall	maintain	policies	and	procedures	to	ensure	inmates	have	access	to	an	adequate	grievance	                  x8/11	        x	9/10	             	
   		      process	and	to	ensure	that	grievances	may	be	accessed	and	filed	confidentially,	without	requiring	the	               x12/11	      x	3/11	
   		      intervention	of	a	correctional	officer,	in	accordance	with	generally	accepted	correctional	standards.			These	        x7/12	      x2/13	
           policies	and	procedures	should	be	applicable	and	standardized	across	all	the	Facility	divisions.	                     x9/14	      x9/13	
                                                                                                                                 x4/15	      x3/14	
                                                                                                                                 x3/16	      	
 38.b.	    CCDOC	shall	ensure	that	the	grievances	receive	appropriate	follow-up,	including	informing	the	grievant	of	the	       x	8/11	        x	9/10	             	
   			     outcome,	providing	a	timely	written	response,	and	tracking	implementation	of	resolutions.	                           x12/11	      x	3/11	
   		                                                                                                                            x7/12	      x2/13	
                                                                                                                                 x9/14	      x9/13	
                                                                                                                                 x4/15	      x3/14	
                                                                                                                                 x3/16	
 38.c.	    CCDOC	shall	ensure	that	grievance	forms	are	available	on	all	units	and	are	available	in	Spanish.		CCDOC	shall	       x	8/11	        x	9/10	             	
   				    ensure	that	there	is	adequate	opportunity	for	illiterate	inmates	and	inmates	who	have	physical	or	cognitive	         x12/11	      x	3/11	
           disabilities	to	access	the	grievance	system.	                                                                         x7/12	      x2/13	
                                                                                                                                 x9/13	      	
                                                                                                                                 x9/13	
                                                                                                                                 x3/14	
                                                                                                                                 x9/14	
                                                                                                                                 x4/15	
                                                                                                                                 x3/16	
 38.d.	    CCDOC	shall	ensure	that	inmate	grievances	are	screened	for	allegations	of	staff	misconduct	and,	if	the	incident	     x	8/11	      x	3/11	       x	9/10	


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   		      or	allegation	meets	established	criteria,	are	referred	for	investigation.		A	member	of	the	management	staff	           x12/11	      x2/13	                	
   		      shall	review	the	grievance	tracking	system	regularly	in	order	to	identify	areas	of	concern.	                            x7/12	      x3/16	
                                                                                                                                   x9/13	      	
                                                                                                                                   x3/14	
                                                                                                                                   x9/14	
                                                                                                                                   x4/15	
  39.	     Access	to	Information	
 (36)	                                                                               	
 39.a.	    CCDOC	shall	ensure	that	newly	admitted	inmates	receive	information,	through	an	inmate	handbook	or	                      x2/13	      x	9/10	               	
   	       orientation	video,	regarding	the	following	areas:		facility	rules	and	regulations;	how	to	report	misconduct;	           x9/13	      x	3/11	
           how	to	report	sexual	abuse	or	assault;	the	process	for	accessing	medical	and	mental	health	care;	emergency	             x3/14	      x	8/11	
           procedures;	rules	for	sending	and	receiving	mail;	the	visitation	process;	facility	schedule;	the	disciplinary	          x9/14	      x12/11	
           process;	and	how	to	seek	redress	of	grievances.	                                                                        x4/15	       x7/12	
                                                                                                                                   x3/16	
 39.b.	    CCDOC	shall	ensure	that	materials	on	facility	rules	and	services	are	available	for	non-literate	and	non-English	       X2/13	       x	9/10	               	
   	       speaking	inmates.	                                                                                                      x9/13	      x	3/11	
                                                                                                                                   x3/14	      x	8/11	
                                                                                                                                   x9/14	      x12/11	
                                                                                                                                   x4/15	       x7/12	
                                                                                                                                   x3/16	
  40.	     CCDOC	shall	provide	training	and	supervision	to	all	correctional	officers	and	supervisors	sufficient	to	               x	8/11	      x	9/10	               	
 (36)	     implement	the	provisions	of	this	Agreed	Order.	                                                                        x12/11	      x	3/11	
   		                                                                                                                              x7/12	
                                                                                                                                   x2/13	
                                                                                                                                   x9/13	
                                                                                                                                   x3/14	
                                                                                                                                   x9/14	
                                                                                                                                   x4/15	
                                                                                                                                   x3/16	
  41.	     Inter-Agency	Agreement	                                                                                                x	8/11	      x	3/11	       x	9/10	
 (37)		     a.	    CCDOC	shall	enter	into	a	written	Inter-Agency	Agreement	with	Cermak	that	delineates	the	mutual	                x12/11	                        	
   		              responsibilities	of	each	party,	relative	to	the	provision	of	health	care	to	inmates	at	the	Facility.		The	      x7/12	
                   Inter-Agency	Agreement	shall	be	finalized	within	60	days	of	the	effective	date	of	this	Agreed	Order.	           x2/13	


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           b.	     Cermak	shall	enter	into	a	written	Inter-Agency	Agreement	with	CCDOC	that	delineates	the	mutual	                 x9/13	
                   responsibilities	of	each	party,	relative	to	the	provision	of	health	care	to	inmates	at	the	Facility.		The	      x3/14	
                   Inter-Agency	Agreement	shall	be	finalized	within	60	days	of	the	effective	date	of	this	Agreed	Order.		          x9/14	
           	                                                                                                                       x4/15	
                                                                                                                                   x3/16	
  69.	     CCDOC	shall	ensure	that	security	staff	posts	will	be	equipped,	as	appropriate,	with	readily	available,	safely	         x	8/11	              	     x		9/10		
 	(37)	    secured,	suicide	cut-down	tools.	*Coordinate	with	Dr.	Metzner	                                                         x12/11	                    x		3/11	
    		                                                                                                                             x7/12	
                                                                                                                                   x2/13	
                                                                                                                                   x9/13	
                                                                                                                                   x3/14	
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